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                         IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


 GARFIELD COUNTY, UTAH, a Utah
 political subdivision; KANE COUNTY,
 UTAH, a Utah political subdivision; and THE
 STATE OF UTAH, by and through its
 Governor, SPENCER J. COX, and its
 Attorney General, SEAN D. REYES;
                 Plaintiffs,                      DEFENDANTS’ MOTION TO DISMISS

 ZEBEDIAH GEORGE DALTON;                          Case No. 4:22-cv-00059-DN-PK (lead case)
 BLUERIBBON COALITION; KYLE                       Case No. 4:22-cv-00060-DN-PK
 KIMMERLE; and SUZETTE RANEA
 MORRIS;                                          District Judge David Nuffer
           Consolidated Plas,                     Magistrate Judge Paul Kohler
 v.
 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et
 al.;

                  Defendants,

 HOPI TRIBE, NAVAJO NATION, PUEBLO
 OF ZUNI, and UTE MOUNTAIN UTE
 TRIBE;

                Intervenor-Dfts.
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                                               MOTION

         Defendants respectfully move the Court to dismiss these consolidated cases pursuant to

 Federal Rule of Civil Procedure 12(b).

                                  MEMORANDUM IN SUPPORT

 I.      Introduction

         The Grand Staircase-Escalante and Bears Ears National Monuments guard world-

 renowned antiquities in southern Utah, protecting a dense array of archaeological, paleontological,

 geologic, historic, and other scientific objects. Established in 1996 and 2016, respectively, the

 monuments shield these invaluable resources from damage and destruction. After the previous

 President reduced the size of those monuments in 2017, President Biden restored the prior

 monument boundaries—and thus the protections previously afforded—in October 2021. Through

 their Complaints in these consolidated actions, Plaintiffs seek to strip monument protections from

 nearly two million acres of federal land, and the numerous designated objects located thereon,

 while failing to articulate any cognizable interest in nearly all of that land.

         This Court should reject Plaintiffs’ unprecedented request to invalidate these Presidential

 Proclamations for four independent reasons. First, Congress has not provided for judicial review

 of Presidential actions establishing national monuments under the Antiquities Act. In light of that

 choice, no court has ever invalidated a President’s designation of a national monument for

 violating the Antiquities Act. The Court should thus dismiss Plaintiffs’ claims for lack of

 jurisdiction, as Congress has neither waived the United States’ sovereign immunity to, nor created

 a cause of action for, Antiquities Act challenges.

         Second, the Court should dismiss all Plaintiffs’ challenges to the Grand Staircase

 proclamation and all but one of Plaintiffs’ challenges to the Bears Ears proclamation for lack of

 standing. Nearly all Plaintiffs have failed to allege relevant injuries caused by President Biden’s

                                                    1
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 actions. Instead, their Complaints focus either on harms attributed to the original creation of these

 National Monuments years ago or speculative fears about what might happen should Congress

 approve a land exchange between Utah and the federal government or the Secretaries of the Interior

 or Agriculture ultimately adopt and subsequently implement monument management plans with

 provisions that Plaintiffs oppose.

         Third, to the extent that any claims can survive these threshold jurisdictional deficiencies,

 they must be dismissed for failure to state a claim upon which relief can be granted. The

 Antiquities Act explicitly authorizes the President to reserve parcels of land for the proper care

 and management of designated objects of historic or scientific interest. Thus, where a plaintiff

 contends that the reservation is too expansive or otherwise improper, the plaintiff must at least

 allege with particularity which parcels of reserved land exceed the smallest area compatible with

 such care and management. Because no Plaintiff has done so, the Court should dismiss Plaintiffs’

 claims for failure to state a claim for relief.

         Finally, Plaintiffs’ claims should be dismissed for failing as a matter of law in interpreting

 the Antiquities Act. Plaintiffs ask the Court to ignore the plain language of the Antiquities Act,

 and several binding Supreme Court decisions, which vest broad discretion in the President to

 reserve lands under the Act. The Court should not do so.

 II.     Factual Background

         A.      Four Presidents have established or modified the challenged monuments.

         President Clinton established the Grand Staircase-Escalante National Monument

 (“GSENM”) to protect, inter alia, “the last place in the continental United States to be mapped”

 as it provided “exemplary opportunities for geologists, paleontologists, archeologists, historians,




                                                   2
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 and biologists.” 1 Prominent features in the GSENM include “a vast geologic stairway, named the

 Grand Staircase by pioneering geologist Clarence Dutton, which rises 5,500 feet to the rim of

 Bryce Canyon in an unbroken sequence of great cliffs and plateaus,” and “world class

 paleontological sites” that provide “one of the best and most continuous records of Late Cretaceous

 terrestrial life in the world.” 2 Although that monument originally consisted of approximately 1.7

 million acres, Congress adjusted the monument boundaries on three occasions, ultimately

 increasing the Federal lands reserved for the monument by more than 180,000 acres. 3

         President Obama established the Bears Ears National Monument (“BENM”) to protect the

 Bears Ears buttes and the historic and scientific objects that surround them, including “[a]bundant

 rock art, ancient cliff dwellings, ceremonial sites, and countless other artifacts [that] provide an

 extraordinary archaeological and cultural record.” 4 The area provides evidence of human history

 from as early as 13,000 years ago, when early people hunted now-extinct megafauna; to 2,500

 years ago, when early farmers occupied the land; to the late 19th century, when Mormon settlers

 arrived in the area. 5 That monument reserved approximately 1.35 million acres of Federal lands

 and interests. 6




 1
   Establishment of the Grand Staircase-Escalante National Monument, 61 Fed. Reg. 50,223,
 50,223 (Sept. 24, 1996).
 2
   Id. at 50,223–24.
 3
   Grand Staircase-Escalante National Monument, 86 Fed. Reg. 57,335, 57,344 (Oct. 15, 2021)
 (citing Utah Schools and Lands Exchange Act of 1998, Pub. L. No. 105–335, 112 Stat. 3139;
 Automobile National Heritage Area Act, Pub. L. No. 105–355, tit. II, 112 Stat. 3247, 3252
 (1998); and the Omnibus Public Land Management Act of 2009, Pub. L. No. 111–11, § 2604,
 123 Stat. 991, 1120).
 4
   Establishment of the Bears Ears National Monument, 82 Fed. Reg. 1,139, 1,139 (Jan. 5, 2017).
 5
   Id. at 1,139–40.
 6
   Id. at 1,143.


                                                  3
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        In 2017, President Trump altered the boundaries of these monuments. He excluded

 approximately 860,000 acres of land from GSENM. 7 And he modified BENM to exclude over

 1.1 million acres of Federal lands, while adding 11,200 new acres of Federal land. 8

        In October 2021, President Biden issued Presidential Proclamations 10,285 and 10,286

 (hereinafter the “BENM Proclamation” and “GSENM Proclamation,” respectively). 9 President

 Biden restored boundaries that existed in both monuments before President Trump’s

 proclamations, while retaining approximately 11,200 acres added to BENM by President Trump.

 In total, President Biden restored monument status to about two million acres of federal lands.

        B.      President Biden’s Proclamations designate numerous objects of historic or
                scientific interest for protection under the Antiquities Act.

        In restoring monument status to those lands, President Biden’s Proclamations found that

 numerous “historic and scientific resources” in these monuments are “objects of historic or

 scientific interest in need of protection” under the Antiquities Act. 10 Those objects include

 geologic features (e.g., Grand Staircase, Bears Ears Buttes), paleontological resources (e.g., world-

 class paleontological sites amidst the fossil-rich formations in Kaiparowits Plateau),

 archaeological resources (e.g., a “village with structures and pottery from multiple Ancestral

 Pueblo periods”), 11 and biological resources (e.g., the Valley of the Gods, which “provides habitat

 for Eucosma navajoensis, an endemic moth that lives nowhere else”). 12 The Proclamations also

 determined that both monuments contain “innumerable objects of historic or scientific interest,”


 7
   Modifying the Grand Staircase-Escalante National Monument, 82 Fed. Reg. 58,089, 58,093
 (Dec. 8, 2017).
 8
   Modifying the Bears Ears National Monument, 82 Fed. Reg. 58,081, 58,085 (Dec. 8, 2017).
 9
   Bears Ears National Monument, 86 Fed. Reg. 57,321 (Oct. 15, 2021) (“BENM Procl.”); Grand
 Staircase-Escalante National Monument, 86 Fed. Reg. 57,335 (Oct. 15, 2021) (“GSENM
 Procl.”).
 10
    GSENM Procl., 86 Fed. Reg. at 57,344.
 11
    BENM Procl., 86 Fed. Reg. at 57,326.
 12
    BENM Procl., 86 Fed. Reg. at 57,328.


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 some so “rare” or “vulnerable to vandalism and theft” that “revealing their specific names and

 locations could pose a danger to the objects.” 13 Consistent with statutory confidentiality

 obligations, 14 the Proclamations do not disclose the locations of all designated objects.

        As the maps below illustrate, the objects designated in the Proclamations are distributed at

 a high density throughout the lands that the Proclamations reserved for their proper care and

 management. Beginning with GSENM, the map shows numerous geologic formations (e.g., Grand

 Staircase, Escalante Natural Bridge), paleontological sites (e.g., Nasutoceratops, Kosmoceratops)

 and archaeological sites (e.g., Fiftymile Mountain area) distributed throughout the monument:




 13
   BENM Procl., 86 Fed. Reg. at 57,322; GSENM Procl., 86 Fed. Reg. at 57,336.
 14
   See 16 U.S.C. § 470hh(a); see also 54 U.S.C. § 320302 (granting agencies authority to
 authorize permits for examining, excavating, or gathering objects).


                                                   5
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 Similarly, the BENM map shows numerous geologic formations (e.g., Bears Ears Buttes, Grand

 Gulch), archaeological sites (e.g., House on Fire, Doll House), and habitats (e.g., Valley of the

 Gods):




                                                                                    15



 15
   The Court may take judicial notice of geographic locations. Pahls v. Thomas, 718 F.3d 1210,
 1216 n.1 (10th Cir. 2013). Full size versions of these maps are in Exhibits G and H.


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 Importantly, even these maps depict only a fraction of the numerous objects of historic and

 scientific importance designated in the Proclamations, and the actual density of objects is much

 higher than depicted.

        In addition to the foregoing objects, the Proclamations identify certain “areas” as objects

 of historic or scientific interest. For example, the Kaiparowits Plateau area of GSENM contains

 “roughly 1,600 square miles of sedimentary rock that towers over the surrounding area.” 16 The

 “stratified geology” of this area provides, inter alia, “the only evidence in our hemisphere of

 mammals from the Cenomanian through Santonian ages and one of the world’s best and most

 continuous records of Late Cretaceous terrestrial life.” 17 “To date, many thousands of fossil sites

 have been documented on the plateau, including evidence of at least 15 previously unknown

 species of dinosaur.” 18 The GSENM Proclamation describes the different geologic formations

 found on the Kaiparowits Plateau area, and explains the contribution of each formation to

 important paleontological discoveries. 19 The Proclamation then details the significant historical

 or scientific features of each region of the Kaiparowits Plateau ranging from the Smoky Mountain

 area with “naturally occurring underground coal fires that have been smoldering for hundreds, if

 not thousands, of years” providing a “home to a number of rare and endemic plant species,” to the

 “Fiftymile Mountain area” with “a high density of archaeological sites, including masonry

 structures” suggesting a convergence of the Ancestral Pueblo and Fremont cultures. 20

        The Proclamations also designate certain “landscapes” themselves as objects of historic

 and scientific interest. For example, the BENM Proclamation explains how the Bears Ears



 16
    GSENM Procl., 86 Fed. Reg. at 57,339.
 17
    Id. at 57,340.
 18
    Id.
 19
    Id.
 20
    Id.


                                                  7
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 landscape provides “one of the most extraordinary cultural landscapes in the United States” due to

 its “unique density of significant cultural, historical, and archaeological artifacts.” 21 “[O]wing to

 the area’s arid environment and overall remoteness, as well as the building techniques that its

 inhabitants employed,” this landscape “retains remarkable” evidence of human use and habitation

 “from the Paleoindian Period, through the time of the Basketmakers and Ancestral Pueblos, to the

 more recent Navajo and Ute period,” to a “series of passages and hideouts used by men like Butch

 Cassidy, the Sundance Kid, and other members of the Wild Bunch,” to archaeological evidence

 demonstrating “the settlement of Latter-day Saint communities.” 22 “Despite millennia of human

 habitation,” the Bears Ears landscape also contains unique paleontological resources and habitat

 for rare and endemic species. 23 Given “the unique nature of the Bears Ears landscape, and the

 collection of objects and resources therein,” President Biden determined, in his discretion, that

 “the entire landscape within the boundaries reserved by this proclamation” constitutes “an object

 of historic and scientific interest in need of protection.” 24

         C.      The Proclamations are subject to valid existing rights, while directing
                 agencies to involve the public when preparing new monument management
                 plans.

         Although the Biden Proclamations reserve federal lands within the monument boundaries

 from new disposition under public land laws, mining laws, and mineral and geothermal leasing

 laws, the Proclamations are “subject to valid existing rights,” such as existing valid mining claims.

 Nor do they displace “livestock grazing as authorized under existing permits or leases.” 25




 21
    BENM Procl., 86 Fed. Reg. at 57,321.
 22
    Id. at 57,322–33.
 23
    Id.
 24
    BENM Procl., 86 Fed. Reg. at 57,330–31; GSENM Procl., 86 Fed. Reg. at 57,345.
 25
    BENM Procl., 86 Fed. Reg. at 57,332; GSENM Procl., 86 Fed. Reg. at 57,346.


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        Contrary to claims in Plaintiffs’ Complaints, 26 there are many things that the challenged

 Proclamations do not prohibit. They neither prohibit the use of motorized vehicles nor close

 roads. 27 The Proclamations make no mention of active management, analyses under the National

 Environmental Policy Act (“NEPA”), installing new water facilities, or removing invasive

 species. 28 Nor do they reduce the ability of Tribal members to engage in “collection of medicines,

 berries and other vegetation, forest products, and firewood for personal noncommercial use.” 29

        The Proclamations direct the Secretaries of the Interior and Agriculture (collectively, the

 Secretaries) to prepare management plans for the monuments. 30 “The Secretaries shall provide for

 maximum public involvement in the development of [those plans], including consultation with

 federally recognized Tribes and State and local governments.” 31

 III.   Procedural Background

        Ten months after President Biden issued the GSENM and BENM Proclamations, two

 lawsuits were filed in this Court challenging those Proclamations. On August 24, 2022, Garfield

 County, Kane County, and the State of Utah (collectively, the “Garfield Plaintiffs”) filed suit,

 alleging that President Biden’s Proclamations exceed the President’s authority under the

 Antiquities Act of 1906. 32 On August 25, 2022, three individuals (Zebediah Dalton, Kyle


 26
    See infra p.21 & n.101.
 27
    See generally BENM Proclamation & GSENM Proclamation (not mentioning “motor” or
 “vehicle”).
 28
    See generally BENM Proclamation & GSENM Proclamation (not mentioning “active
 management,” “National Environmental Policy Act,” “water facilities,” or “invasive species”).
 29
    Establishment of BENM, 82 Fed. Reg. at 1,145; BENM Procl., 86 Fed. Reg. at 57,332
 (incorporating the “the terms, conditions, and management direction” from Proclamation 9,558
 into Proclamation 10,285); GSENM Procl., 86 Fed. Reg. at 57,346.
 30
    GSENM Procl., 86 Fed. Reg. at 57,345 (directing the Secretary of the Interior to “prepare and
 maintain a new management plan” for GSENM); BENM Procl., 86 Fed. Reg. at 57,332
 (directing the Secretaries of the Interior and Agriculture to “jointly prepare and maintain a new
 management plan for” BENM).
 31
    BENM Procl., 86 Fed. Reg. at 57,332.
 32
    Complaint, Docket no. 2, filed August 24, 2022 (“Garfield Complaint”).


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 Kimmerle, and Suzette Morris) and an organization (BlueRibbon Coalition) (collectively, the

 “Dalton Plaintiffs”) filed a similar suit. 33 Both suits allege that the challenged Proclamations

 designate ineligible objects as monuments 34 and reserve more land than is necessary to care for

 the eligible objects. 35 And both suits seek declaratory and injunctive relief against both President

 Biden and the Secretaries. 36

        Although the Complaints mention in passing various agency documents, 37 neither

 Complaint brings any claims under the Administrative Procedure Act (“APA”). Nor does either

 Complaint present any other sort of challenge to any agency action. Instead, both Complaints

 squarely challenge President Biden’s GSENM and BENM Proclamations.

                                        LEGAL STANDARD

        To survive a motion under Rule 12(b)(6), a complaint must contain factual allegations

 sufficient to state a claim that is plausible on its face. 38 “A claim has facial plausibility when the

 plaintiff pleads factual content that allows the court to draw the reasonable inference that the

 defendant is liable for the misconduct alleged.” 39 “[T]he mere metaphysical possibility that some

 plaintiff could prove some set of facts in support of the pleaded claims is insufficient; the complaint

 must give the court reason to believe that this plaintiff has a reasonable likelihood of mustering




 33
    Complaint, Docket no. 2, Dalton v. Biden, Case No. 4:22-cv-60-DN, filed August 25, 2022
 (“Dalton Compl.”).
 34
    E.g., Garfield Complaint ¶¶ 246–52 (alleging that landscapes and animals are ineligible);
 Dalton Compl. ¶ 3 (same).
 35
    E.g., Garfield Compl. ¶¶ 272–309 (alleging that too much land has been reserved to protect
 qualifying objects); Dalton Compl. ¶ 158 (relying on similar allegations).
 36
    Garfield Compl. p.80; Dalton Compl. p.52.
 37
    E.g., Dalton Compl. ¶ 28 (discussing “interim guidance” from the Bureau of Land
 Management).
 38
    Anderson v. Suiters, 499 F.3d 1228, 1232 (10th Cir. 2007) (citing Bell Atl. Corp. v. Twombly,
 550 U.S. 544, 560–63 (2007)).
 39
    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).


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 factual support for these claims.” 40 Plaintiffs bear the burden of demonstrating that the complaint

 meets this threshold. 41 The Court accepts the allegations of the complaint as true and draws all

 reasonable inferences in the plaintiff’s favor. 42 However, the Court is “not bound to accept as true

 a legal conclusion couched as a factual allegation.” 43 The Court may also use Rule 12(b)(6) to

 dispose of a claim that “fails as a matter of law.” 44

         Rule 12(b)(1) permits dismissal of a case for “lack of subject-matter jurisdiction.” 45 On a

 facial attack under this rule, the court applies the same standards applicable to a Rule 12(b)(6)

 motion and accepts the allegations in the complaint as true. 46 “In addressing a factual attack, the

 court does not presume the truthfulness of the complaint’s factual allegations, but has wide

 discretion . . . to resolve disputed jurisdictional facts.” 47

                                              ARGUMENT

 I.      Congress Has Not Provided For Judicial Review Of Plaintiffs’ Claims.

         A.      Plaintiffs lack an applicable waiver of sovereign immunity.

         “It is well settled that the United States . . . [is] immune from suit, unless sovereign

 immunity has been waived.” 48 Because “the defense of sovereign immunity is jurisdictional in

 nature,” 49 a party asserting a claim against the United States bears “the burden of establishing that




 40
    Ridge at Red Hawk, L.L.C. v. Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007).
 41
    Olson v. Carmack, 641 F. App’x 822, 826–27 (10th Cir. 2016) (citing Twombly, 550 U.S. at
 556).
 42
    Wasatch Equality v. Alta Ski Lifts Co., 820 F.3d 381, 385–86 (10th Cir. 2016).
 43
    Papasan v. Allain, 478 U.S. 265, 286 (1986).
 44
    Albers v. Bd. of Cnty. Comm'rs of Jefferson Cnty., Colo., 771 F.3d 697, 704 (10th Cir. 2014).
 45
    Fed. R. Civ. P. 12(b)(1).
 46
    Muscogee Nation v. Okla. Tax Comm’n, 611 F.3d 1222, 1227 & n.1 (10th Cir. 2010).
 47
    United States v. Rodriguez-Aguirre, 264 F.3d 1195, 1203 (10th Cir. 2001) (cleaned up).
 48
    Atkinson v. O’Neill, 867 F.2d 589, 590 (10th Cir. 1989) (per curiam); FDIC v. Meyer, 510 U.S.
 471 (1994); United States v. Mitchell, 445 U.S. 535, 538 (1980).
 49
    Wyoming v. United States, 279 F.3d 1214, 1225 (10th Cir. 2002).


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 its action falls within an unequivocally expressed waiver of sovereign immunity by Congress.”50

 Any such waivers “must be unequivocal and are to be strictly construed.” 51

        Neither Complaint identifies an applicable waiver of sovereign immunity. Although

 Plaintiffs identify several general jurisdictional provisions, 52 “[s]overeign immunity is not waived

 by general jurisdictional statutes such as 28 U.S.C. § 1331 (federal question jurisdiction), . . . and

 28 U.S.C. § 1361 (action to compel a government officer to perform his duty).” 53 “Nor does the

 declaratory judgment statute, 28 U.S.C. § 2201, itself confer jurisdiction on a federal court where

 none otherwise exists.” 54     Instead, Plaintiffs “must find an explicit waiver of sovereign

 immunity.” 55 Because “a complaint must state the jurisdictional basis for all of the claims alleged

 therein,” Plaintiffs’ failure to identify an explicit statutory waiver of sovereign immunity requires

 dismissal of their Complaints. 56

        Plaintiffs, moreover, cannot rely on the nonstatutory ultra vires doctrine to circumvent the

 United States’ sovereign immunity. As the Tenth Circuit has explained, “the question of whether

 a government official acted ultra vires is quite different from the question of whether that same

 official acted erroneously or incorrectly as a matter of law.” 57 As “the ultra vires doctrine is


 50
    Dunn v. Black, P.S. v. United States, 492 F.3d 1084, 1088 (9th Cir. 2007); accord Lonsdale v.
 United States, 919 F.2d 1440, 1444 (10th Cir. 1990).
 51
    Rosson v. United States, 127 F. App’x 398, 400 (10th Cir. 2005); see United States v. Mottaz,
 476 U.S. 834, 841 (1986); United States v. Testan, 424 U.S. 392, 399 (1976).
 52
    E.g., Garfield Compl. ¶ 25 (citing 28 U.S.C. §§ 1331, 1361, 2201, 2202).
 53
    Lonsdale, 919 F.2d at 1444; Burns Ranches, Inc. v. U.S. Dep’t of the Interior, 851 F. Supp. 2d
 1267, 1270–71 (D. Or. 2011) (recognizing that 28 U.S.C. § 2201 does not waive sovereign
 immunity, and collecting cases); W. Shoshone Nat. Council v. United States, 408 F. Supp. 2d
 1040, 1047–48 (D. Nev. 2005) (“[T]he Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202,
 does not constitute the United States’ consent to be sued, it ‘merely grants an additional remedy
 in cases where jurisdiction already exists in the court.’”) (citation omitted).
 54
    Wyoming, 279 F.3d at 1225.
 55
    Lonsdale, 919 F.2d at 1444.
 56
    Mocek v. City of Albuquerque, 813 F.3d 912, 932 (10th Cir. 2015) (affirming dismissal based
 on failure to allege federal waiver of sovereign immunity).
 57
    Wyoming, 279 F.3d at 1230.


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 grounded on ‘the officer’s lack of delegated power,’” a “claim of error in the exercise of that power

 is therefore not sufficient.” 58 “The mere allegation that the official acted wrongfully ‘does not

 establish that the officer, in committing that wrong, is not exercising the powers delegated to him

 by the sovereign.’” 59 Thus, where a plaintiff does not question an official’s “power to determine”

 a certain issue, but instead asserts that the official’s “decision was incorrect as a matter of law,”

 courts have “rejected such arguments asserted in the attempt to avoid the shield of sovereign

 immunity.” 60

        These cases confirm that Plaintiffs’ claims fall outside of the narrow ultra vires exception

 to sovereign immunity. Plaintiffs do not dispute that the President has power to designate national

 monuments in the affected areas. 61 Instead, they disagree with how the President declared these

 specific monuments: by allegedly reverse engineering the monuments from their boundaries;

 insufficiently describing the significance of designated objects; designating ineligible objects of

 historic or scientific interest; reserving too much land to protect the qualifying objects;

 insufficiently justifying the amount of land reserved; and not making separate reservations for each

 of the designated objects. 62 None of these arguments assert that the President lacked the “power

 to determine” the existence of objects of interest or reserve land to protect those objects; instead,

 they represent disagreement with the choices the President has made (or processes he allegedly

 used) in exercising his authority under the Antiquities Act. This Court should therefore reject

 Plaintiffs’ “attempt to avoid the shield of sovereign immunity.” 63



 58
    United Tribe of Shawnee Indians v. United States, 253 F.3d 543, 548–49 (10th Cir. 2001)
 (quoting Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 690 (1949)).
 59
    Id. (quoting Larson, 337 U.S. at 693).
 60
    New Mexico v. Regan, 745 F.2d 1318, 1320 n.1 (10th Cir. 1984).
 61
    E.g., Garfield Compl. ¶¶ 293–295; Dalton Compl. ¶ 158.
 62
    E.g., Garfield Compl. ¶ 270; id. ¶¶ 250–67; id. ¶ 247; Dalton Compl. ¶ 5; id. ¶ 8; id. ¶ 6.
 63
    Regan, 745 F.2d at 1320 n.1.


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        Dismissal on sovereign immunity grounds is consistent with Supreme Court precedent

 affirming Presidential designations under the Antiquities Act. In both Cappaert v. United States64

 and Cameron v. United States, 65 the United States sought judicial relief to enforce reservations of

 land under the Antiquities Act. Thus, the United States’ sovereign immunity was not at issue in

 those cases. Here, by contrast, Plaintiffs have invoked the Court’s jurisdiction against the

 President, thus requiring them to establish a waiver of sovereign immunity. Because Plaintiffs

 have failed to do so, the Court should dismiss their claims on sovereign immunity grounds.

        B.      The President’s exercise of discretion in issuing the challenged Proclamations
                is not judicially reviewable because Congress has not created such a cause of
                action.

        Just as Congress has not waived sovereign immunity for Plaintiffs’ claims, it has also not

 created a cause of action to review the challenged Presidential Proclamations. In a pair of

 landmark decisions, the Supreme Court described the strict limits on judicial review of Presidential

 actions. In Dalton v. Specter, the Supreme Court, relying on its earlier decision in Franklin v.

 Massachusetts, concluded that Presidential actions were not reviewable under the APA because

 the President is not an “agency” within the meaning of that Act. 66 The Supreme Court then

 “assume[d] for the sake of argument” that some claims that the President violated a statutory

 mandate may nevertheless be judicially reviewable outside the framework of the APA, before

 concluding that such “review is not available when the statute in question commits the decision to

 the discretion of the President.” 67 Instead, the Supreme Court “require[s] an express statement by




 64
    426 U.S. 128, 141–42 (1976).
 65
    252 U.S. 450, 455–56 (1920).
 66
    511 U.S. 462, 468–70 (1994) (citing Franklin, 505 U.S. 788, 798–99 (1992)).
 67
    Dalton, 511 U.S. at 474; see also Trump v. Hawaii, 138 S. Ct. 2392, 2407 (2018).


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 Congress before assuming it intended the President’s performance of his statutory duties to be

 reviewed for abuse of discretion.” 68

        In the present case, Plaintiffs claim that President Biden exceeded his authority under the

 Antiquities Act by designating items that do not qualify as “objects of historic or scientific

 interest,” and by failing to reserve only “the smallest area compatible with the proper care and

 management of” the identified objects. 69 Plaintiffs do not allege that the President lacked the

 authority to create monuments in southern Utah. Nor have Plaintiffs presented any constitutional

 challenges to the Antiquities Act or the President’s exercise of authority under that Act. Rather,

 Plaintiffs contend that the President improperly exercised the discretionary authority conferred on

 him pursuant to the Antiquities Act.

        As in Dalton, however, judicial review of these statutory claims is not available because,

 through the Antiquities Act, Congress has conferred the authority to designate national monuments

 upon the President and committed that decision to his discretion. Congress vested the ultimate

 decision for declaring a national monument in the President as head of the Executive branch. 70

 The Act expressly authorizes the President “in [his] discretion” to declare objects of historic or

 scientific interest to be national monuments. 71 Further, the President “may reserve” as a part

 thereof, parcels of land which shall be confined to the smallest area compatible with the proper

 care and management of the objects to be protected. 72 Although the Act contains standards which

 guide the exercise of the President’s discretion, the President is the sole and exclusive judge as to

 the existence of facts satisfying those standards because Congress has not provided an “express



 68
    Franklin, 505 U.S. at 801.
 69
    54 U.S.C. § 320301.
 70
    Id.
 71
    Id. § 320301(a).
 72
    Id. § 320301(b).


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 statement” authorizing review of the President’s discretionary determinations. 73 Thus, while the

 Act requires the President to determine that there are objects of historic or scientific interest to be

 protected by the designation and that the land reserved is the smallest area compatible with the

 proper care and management of those objects, it is the President’s judgment on those facts which

 is determinative of whether a national monument should be proclaimed. Consequently, the

 President’s judgment on these facts is no more subject to judicial review under this statutory

 scheme than if Congress itself had exercised that judgment. “How the President chooses to

 exercise the discretion Congress has granted him is not a matter for [judicial] review,” because

 “no question of law is raised when the exercise of the President’s discretion is challenged.” 74

        This principle is firmly established by Dalton and a long line of Supreme Court decisions

 beginning with Dakota Central Telephone Co. v. State of South Dakota ex rel. Payne. 75 Plaintiff

 there sought to enjoin implementation of an intrastate rate schedule prepared by the Postmaster

 General, who had assumed control of the telephone companies under presidential proclamation.

 In rejecting plaintiff’s claim that the President had exceeded the power given him by Congress,

 the Supreme Court explained that claims asserting an excess or abuse of discretion by the President

 are not judicially reviewable:

        But as the contention at best concerns not a want of [presidential] power, but a
        mere excess or abuse of discretion in exerting a power given, it is clear that it
        involves considerations which are beyond the reach of judicial power. This must
        be since, as this court has often pointed out, the judicial may not invade the
        legislative or executive departments so as to correct alleged mistakes or wrongs
        arising from asserted abuse of discretion. 76




 73
    See Franklin, 505 U.S. at 801; see also United States v. George S. Bush & Co., 310 U.S. 371,
 380 (1940).
 74
    Dalton, 511 U.S. at 476 (cleaned up).
 75
    250 U.S. 163 (1919).
 76
    Id. at 184 (emphasis added).


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        Similarly, in United States v. George S. Bush & Co., 77 the Supreme Court reversed a

 determination by the Court of Customs and Patent Appeals which invalidated a presidential

 proclamation issued pursuant to the Tariff Act of 1930. It is “the judgment of the President on

 those facts which is determinative of whether or not the recommended rates [of duty] will be

 promulgated” and “the judgment of the President . . . is no more subject to judicial review under

 this statutory scheme than if Congress itself had exercised that judgment.” 78

        Finally, in Chicago & Southern Air Lines, Inc. v. Waterman S.S. Corp, 79 the Supreme Court

 concluded that the President’s decision to approve or disapprove orders of the Civil Aeronautics

 Board was not reviewable because “the final orders embody Presidential discretion as to political

 matters beyond the competence of the courts.” 80 And the Court reached this conclusion despite

 recognizing that the consequence of its decision was to foreclose judicial review altogether:

        The dilemma faced by those who demand judicial review of the Board’s order is
        that, before Presidential approval, it is not a final determination . . . and after
        Presidential approval, the whole order, both in what is approved without change,
        as well as in amendments which he directs, derives its vitality from the exercise of
        unreviewable Presidential discretion. 81

        The President’s unique status under the Constitution distinguishes him from other

 executive officials. 82 He is entrusted under the Constitution “with supervisory and policy

 responsibilities of utmost discretion and sensitivity,” including the responsibility to “take Care that

 the Laws be faithfully executed.” 83 Accordingly, the Supreme Court’s refusal to subject




 77
    310 U.S. 371 (1940).
 78
    Id. at 379–80.
 79
    333 U.S. 103 (1948).
 80
    Id. at 112–14.
 81
    Id. at 113 (emphasis added).
 82
    Nixon v. Fitzgerald, 457 U.S. 731, 749–50 (1982).
 83
    Id. at 750 (quoting U.S. Const. art. II, § 3).


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 presidential action to judicial review is supported by the separation of powers doctrine and the

 President’s unique position in that constitutional scheme. 84

        Two decisions from sister courts in this Circuit confirm that the Court cannot second-guess

 the President’s discretionary judgments in establishing national monuments. In Utah Association

 of Counties v. Bush, plaintiffs sought judicial review of their claims that President Clinton had

 improperly designated objects of scientific or historic interest and reserved too much land in

 establishing the Grand Staircase-Escalante National Monument. 85 Judge Benson held that he

 lacked authority to undertake the requested review, as a “grant of discretion to the President to

 make particular judgments forecloses judicial review of the substance of those judgments

 altogether.” 86 Instead, Judge Benson concluded that his review was limited to “inquir[ing] into

 whether the President, when designating this Monument, acted pursuant to the Antiquities Act.”87

 Similarly, in State of Wyoming v. Franke, this general principle of non-reviewability was applied

 to a similar challenge to presidential action under the Antiquities Act. 88 In denying plaintiffs’

 request for a judicial declaration voiding the Presidential Proclamation which created the Jackson

 Hole National Monument, the Court stated:

        It has long been held that where Congress has authorized a public officer to take
        some specified legislative action when in his judgment that action is necessary or
        appropriate to carry out the policy of Congress, the judgment of the officer as to
        the existence of the facts calling for that action is not subject to review . . . .
        Whenever a statute gives a discretionary power to any person, to be exercised by
        him upon his own opinion of certain facts, it is a sound rule of construction that
        the statute constitutes him the sole and exclusive judge of the existence of those
 84
    See Franklin, 505 U.S. at 800–01 (“Out of respect for the separation of powers and the unique
 constitutional position of the President . . . textual silence is not enough to subject” the
 President’s decisions to judicial review under the APA); Nixon, 457 U.S. at 749 (absolute
 immunity from private damage suits is a “functionally mandated incident of the President’s
 unique office, rooted in the constitutional tradition of the separation of powers”).
 85
    316 F. Supp. 2d 1172, 1185 (D. Utah 2004).
 86
    Id.
 87
    Id. at 1186 (finding this narrow review standard easily met).
 88
    58 F. Supp. 890, 892 (D. Wyo. 1945)


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        facts. For the judiciary to probe the reasoning which underlies this Proclamation
        would amount to a clear invasion of the legislative and executive domains. 89

 The court then concluded as follows: “In short, this seems to be a controversy between the

 Legislative and Executive Branches of the Government in which, under the evidence presented

 here, the Court cannot interfere.” 90

        The Antiquities Act undeniably confers authority upon the President to create national

 monuments, and it is beyond dispute that President Biden invoked that authority in issuing the

 Proclamations. Rather than dispute this authority, Plaintiffs contend that the President acted in

 excess of or abused his authority under the Act when he restored the challenged monuments. Such

 claims are beyond the reach of judicial power. 91 Should Plaintiffs disagree with the President’s

 discretionary judgments, they can petition Congress to change the President’s determinations. 92

 II.    The Challenges To Grand Staircase-Escalante National Monument And All But
        One Plaintiff Should Be Dismissed For Lack Of Standing.

        The Court should dismiss all Plaintiffs but Kyle Kimmerle for failing to adequately allege

 standing, and even Mr. Kimmerle lacks standing to challenge the GSENM Proclamation. 93 The

 Court should therefore dismiss all challenges except for Mr. Kimmerle’s challenge to the BENM




 89
    Id. at 896 (internal quotation marks omitted) (quoting George S. Bush & Co., 310 U.S. at 380).
 90
    Id.
 91
    See Dalton, 511 U.S. at 476 (“How the President chooses to exercise the discretion Congress
 has granted him is not a matter for our review”); George S. Bush & Co., 310 U.S. at 380 (“No
 question of law is raised when the exercise of [the President’s] discretion is challenged”); Dakota
 Cent. Tel. Co., 250 U.S. at 184 (claim of “mere excess or abuse of discretion in exerting a power
 given . . . involves considerations which are beyond the reach of judicial power”).
 92
    For example, Congress enacted restrictions on new national monuments following
 unsuccessful litigation over a national monument in Wyoming. See 54 U.S.C. § 320301(d) (“No
 extension or establishment of national monuments in Wyoming may be undertaken except by
 express authorization of Congress.”).
 93
    Defendants do not concede that Mr. Kimmerle has standing to bring suit, but do not presently
 seek dismissal on that ground.


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 Proclamation for lack of standing. 94 Doing so will assist the Parties in focusing any factual

 development that may be appropriate, such as whether the parcels of reserved land allegedly

 causing Mr. Kimmerle’s injury have historic or scientific value, 95 on Plaintiffs who can survive

 the pleading stage.

         Consistent with Article III’s case-or-controversy requirement, Plaintiffs must establish

 standing to sue. To do so, a plaintiff must establish: (1) “an ‘injury in fact’ that is (a) concrete and

 particularized and (b) actual or imminent, not conjectural or hypothetical; (2) the injury is fairly

 traceable to the challenged action of the defendant; and (3) it is likely, as opposed to merely

 speculative, that the injury will be redressed by a favorable decision.” 96 At the pleading stage, a

 plaintiff must “clearly . . . allege facts demonstrating” each standing element. 97 And those facts

 must establish a plausible basis for the plaintiff’s standing. 98

         Plaintiffs’ challenges focus not on actual concrete injuries, but on their disagreement with

 the President’s policy decision to protect the relevant lands and resources. But “standing is not

 measured by the intensity of the litigant’s interest or the fervor of his advocacy.” 99 Their

 Complaints recite numerous concerns with federal management of the public lands, when those



 94
    See Mount Evans Co. v. Madigan, 14 F.3d 1444, 1451–53 (10th Cir. 1994) (analyzing
 individual plaintiffs' standing separately and dismissing some plaintiffs for lack of standing even
 though other plaintiffs had standing); Thiebaut v. Colo. Springs Utilities, 455 F. App'x 795, 802
 (10th Cir. 2011) (“courts retain discretion to analyze the standing of all plaintiffs in a case and to
 dismiss those plaintiffs that lack standing”).
 95
    See infra pp.40–43.
 96
    Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000).
 97
    Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (alteration in original) (citation omitted).
 98
    See Ashcroft, 556 U.S. at 679 (“[O]nly a complaint that states a plausible claim for relief
 survives a motion to dismiss,” including a motion to dismiss under Rule 12(b)(1)); see also
 Muscogee (Creek) Nation v. Oklahoma Tax Comm’n, 611 F.3d 1222, 1227 n.1 (10th Cir. 2010)
 (“we apply the same standards under Rule 12(b)(1) that are applicable to a Rule 12(b)(6) motion
 to dismiss for failure to state a cause of action.”).
 99
    Bear Lodge Multiple Use Ass’n. v. Babbitt, 175 F.3d 814, 822 (10th Cir. 1999) (citation
 omitted).


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 management decisions occurred long before President Biden issued the challenged

 Proclamations. 100 When it comes to describing the challenged Proclamations, however, the

 Complaints provide conclusory assertions that the Proclamations prohibit various activities—e.g.,

 motorized vehicle use, road use, NEPA analyses, installation of water facilities 101—that are not

 even mentioned in the challenged Proclamations. 102 Elsewhere, Plaintiffs tacitly concede that their

 alleged injuries have not yet materialized. 103

        Here, the allegations of both Plaintiffs’ complaints, even liberally construed, cannot meet

 Article III’s requirements because, with one potential exception going only to a small portion of

 one of the two Proclamations, Plaintiffs have not met their burden to establish standing.

        A.      The Garfield Plaintiffs do not allege a cognizable injury, caused by the
                Proclamations, that would be redressed by a favorable decision.

        The Garfield Plaintiffs challenge the Biden Proclamations, asserting three basic theories of

 standing: harms from increased visitation to southern Utah, harms to alleged State interests in the

 management of federal lands, and decreased revenue from mineral sharing. As discussed below,

 none of these standing theories meets Article III requirements.

                1.      The State and the Counties cannot demonstrate standing based on
                        allegations of harm arising from increased visitation to southern Utah.

        Permeating their complaint is the Garfield Plaintiffs’ contention that, in contradiction to

 the judgment of Congress, the creation of monuments under the Antiquities Act in fact “endanger

 what they purport to protect” by causing increased visitation to the relevant regions in southern




 100
     E.g., Dalton Compl. ¶¶ 79, 82, 112, 130–31.
 101
     E.g., id. ¶¶ 93–99; Garfield Compl. ¶¶ 153–54, 159.
 102
     See BENM Procl., 86 Fed. Reg. at 57,321–34; GSENM Procl., 86 Fed. Reg. at 57,335–47.
 103
     E.g., Dalton Compl. ¶ 77 (“the Monuments portend a future [of] closed trails and roads;
 restricted campgrounds; limits on motorized access; and caps on group sizes that will block
 family or religious gatherings”).


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 Utah. 104 They further allege that this increase in visitors causes numerous and various harms

 ranging from increased search-and-rescue and road maintenance costs to harm to local wildlife

 populations and archeological and paleontological resources to the increased need for law

 enforcement. 105

        As an initial matter, the Garfield Plaintiffs’ allegations that they are injured by—and would

 prefer to avoid—increased tourism to the area is neither plausible on its face nor consistent with

 Plaintiffs’ own statements and efforts. 106 To the contrary, all three Garfield Plaintiffs manage

 public websites designed to attract more visitors to southern Utah by advertising these very

 monuments, thereby causing their own “injury.” 107 Thus, even assuming that they have plausibly

 alleged injury due to increased visitation, the Garfield Plaintiffs do not allege facts plausibly

 showing that that the Biden Proclamations caused the increased visitation, or that any resulting

 injuries would be redressed if the Court grants them relief. 108




 104
     Garfield Compl. ¶ 17 (“[The reservations] draw visitors from all over the world who trample
 on flora, traumatize fauna, and leave trails and roads overrun with trash and human waste”); id.
 ¶ 145 (“The reservations inherently draw increased visitation to the reserved lands due to their
 public notoriety”).
 105
     Id. ¶¶ 21–23, 147, 154, 156, 161, 180, 188, 195, 198, 199.
 106
     See, e.g., Ex. A, Utah Office of Tourism Website, Grand Staircase-Escalante 2 (“Grand
 Staircase–Escalante National Monument is phenomenal.”); Ex. B, Utah Office of Tourism
 Website, Bears Ears National Monument 2 (“A pair of towering buttes stand against beautiful
 scenery.”); Ex. C, Kane County Travel Council Website 1 (“Have you ever hoped to find the
 perfect vacation destination, far from the crowds, and surrounded by amazing scenic splendor?
 Well Now You Have! Kane County, in Southern Utah, offers easier access to more National
 Parks and Monuments than any other place on earth [including] the Grand Staircase-Escalante
 National Monument.”); Ex. D, Garfield County Tourism Website 1 (stating Garfield County
 “works diligently to attract visitors to [its] world-class destinations” and directing visitors to
 Bryce Canyon Country website); Ex. E, Bryce Canyon Country Website 2 (“When visiting
 Grand Staircase-Escalante, you’ll find numerous things to do and places to see that will make
 your experience unique and memorable.”). The Court may take judicial notice of these websites.
 Garling v. EPA, 849 F.3d 1289, 1297 n.4 (10th Cir. 2017).
 107
     Colorado v. EPA, 989 F.3d 874, 888 (10th Cir. 2021).
 108
     Habecker v. Town of Estes Park, Colo., 518 F.3d 1217, 1225 (10th Cir. 2008).


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         To establish causation, a plaintiff must establish “a substantial likelihood that the

 defendant’s conduct caused plaintiff’s injury in fact.” 109 If “‘speculative inferences are necessary

 to connect [the] injury to the challenged action,’ this burden has not been met.” 110 And “self-

 inflicted injuries cannot satisfy the requirements for Article III standing because they break the

 causal chain linking the defendant’s conduct to the asserted injury.” 111

         Here, not even speculative inferences could connect the Garfield Plaintiffs’ alleged injuries

 to the Biden Proclamations. Ultimately, the Garfield Plaintiffs’ position is that the existence of

 the two monuments brings unwanted visitors to southern Utah. 112 But both monuments were

 established years prior to President Biden’s 2021 Proclamations. 113 Further, Plaintiffs expressly

 allege that it was these initial “reservations”—reservations that they do not challenge in this

 litigation—that resulted in the increased visitation and alleged resultant harms. 114          Other

 allegations corroborate this point. For instance, they describe the alleged harm from increased

 search and rescue costs as commencing in “1996, when the Grand Staircase-Escalante reservation

 went into effect . . . .” 115

         As a result, Plaintiffs cannot plausibly allege facts establishing a “substantial likelihood”

 that any increased visitation was caused by the Biden Proclamations, as opposed to the earlier,


 109
     Id. (quoting Nova Health Sys. v. Gandy, 416 F.3d 1149, 1156 (10th Cir. 2005)).
 110
     Id. (quoting Nova Health Sys., 416 F.3d at 1157).
 111
     Colorado, 989 F.3d at 888 (internal citation omitted).
 112
     Garfield Compl. ¶¶ 17, 145.
 113
     Id. ¶ 105 (GSENM established by Proclamation 6,920 in 1996); ¶ 108 (BENM established by
 Proclamation 9,558 in 2016).
 114
     Id. ¶ 113 (“The reservations [by Presidents Clinton and Obama] also attracted visitation and
 attention from all over the world, straining local infrastructure and increasing litter and waste,
 damage to the land, harm to animals, and desecration of archaeological sites”).
 115
     Id. ¶ 197 (alleging “over 750 search-and-rescue missions within San Juan, Garfield, and Kane
 counties,” since 1996, “over 85% of them involving visitors”); see also id. ¶ 150 (alleging that
 since “President Obama created the Bears Ears reservation, vandalism and other harms to
 archeological resources within it have increased”); id. ¶ 193 (Utah launched “Pledge to Protect
 the Past” to address archeological vandalism in 2020 before the challenged Proclamations).


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 unchallenged proclamations—or to other factors, such as Plaintiffs’ own tourism initiatives. In

 fact, their own complaint proves the opposite. It relies on a July 2022 Salt Lake Tribune (“SLT”)

 article for the proposition that in 2021, “the year when President Biden issued his proclamations,”

 Kane County experienced a “massive influx of visitors.” 116 The article, however, emphasizes that

 increased visitation to the region resulted from “pandemic tourism,” rather than, for instance, the

 2021 Proclamations. 117 Furthermore, while the article references a substantial increase in tourist

 visits to Kane County between 2020 and 2021—the Biden Proclamations issued in October

 2021—late in the year and months after the conclusion of the summer tourism season. 118 This

 article, therefore, demonstrates that increased visitation was occurring immediately before the

 Biden Proclamations issued, at a time when the monument boundaries were significantly

 contracted under President Trump’s Proclamations. Similarly unavailing is their reliance on

 agency documents that discuss visitation increasing by 2020, when monument boundaries were

 contracted. 119 Accordingly, the Garfield Plaintiffs’ own allegations undermine their assertion of

 a link between increased tourism and the restoration of monument boundaries.

        For similar reasons, the Garfield Plaintiffs do not adequately allege redressability for their

 alleged injuries arising from increased visitation. 120 To adequately plead a redressable injury, a


 116
     Id. ¶ 145 (citing Eddington, As Kanab reels from pandemic tourism, officials hope kindness
 campaign can curb vandalism and trash, Salt Lake Trib. (July 16, 2022)).
 117
     Ex. F, Eddington 1–2, supra n.116 (noting that “during the pandemic . . . people from
 coronavirus-infested cities and suburbs have sought sanctuary in Kane County’s wide open
 spaces and nearby national monuments and parks”).
 118
     Garfield Compl. ¶ 124.
 119
     Id. ¶ 150 (citing a 2020 document from the Bureau of Land Management (“BLM”) and a
 Forest Service document discussing how visitor use increased by 2020); see also Cultural Site
 Visitor Management for Doll House, Lewis Lodge, Dry Wash and Twin Kivas Cultural Sites,
 Draft Environmental Assessment, Finding of No Significant Impact 2 (June 2022), available at
 https://usfs-public.app.box.com/v/PinyonPublic/file/965122654218 (last visited Jan. 5, 2023)
 (stating that visitor use increased from 2016 to 2020).
 120
     See Habecker, 518 F.3d at 1224 (“it must be likely, as opposed to merely speculative, that the
 injury will be redressed by a favorable decision”).


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 plaintiff “must allege facts from which it reasonably could be inferred that . . . if the court affords

 the relief requested, the [injury] will be removed.” 121 Here, the Garfield Plaintiffs seek (1) judicial

 declarations that the Biden Proclamations are unlawful; and (2) an injunction preventing Federal

 Defendants from implementing the Proclamations. 122 They do not allege that this relief will stop

 people from visiting the regions where the monuments are located—nor would such an allegation

 be plausible. Indeed, their alleged theory—that tourists visit the monuments “due to their public

 notoriety” 123—suggests that further litigation about the monuments would only increase visitation.

        Moreover, even Plaintiffs’ requested remedy would not eliminate either of the two

 monuments. The two monuments are each the subject of prior proclamations—those originally

 creating the monuments; and those in 2017 modifying their boundaries. 124 Although there may be

 some question as to which proclamations would control the monuments’ boundaries, were the

 Biden Proclamations to be vacated, there are no circumstances under which the monuments—

 encompassing, at a minimum, 1.11 million acres—would simply cease to exist. 125 As such, even

 accepting Plaintiffs’ unsupported allegations that the monuments are responsible for the increased

 visitation to the regions in which they are located—the monuments will continue to exist,

 regardless of whether Plaintiffs prevail. Even if the monuments themselves somehow ceased to

 exist, the public would still be aware of the existence of resources within the relevant lands from

 the Garfield Plaintiffs’ own websites and the prior monument proclamations. Because Plaintiffs


 121
     Producers of Renewables United for Integrity Truth & Transparency v. EPA, No. 19-9532,
 2022 WL 538185, at *9 (10th Cir. Feb. 23, 2022) (alterations in original) (quoting Warth v.
 Seldin, 422 U.S. 490, 504 (1975)).
 122
     Garfield Compl. at p.80.
 123
     Id. ¶ 145.
 124
     Id. ¶¶ 105, 107, 119.
 125
     See id. ¶¶ 119–20, 122, and map at p.26. The two 2017 Trump proclamations modifying the
 monuments’ boundaries are subject to challenges in still-pending litigation in the U.S. District
 Court for the District of Columbia. The Wilderness Soc. v. Biden, Case No. 17-cv-2587
 (D.D.C.); Hopi Tribe et al. v. Biden, Case No. 17-cv-2590 (D.D.C.).


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 cannot plausibly allege that vacating the Biden Proclamations would eliminate public knowledge

 of the monument resources, they cannot plausibly allege redressability for their tourism-related

 injuries.

         In sum, the Garfield Plaintiffs have failed to establish that their alleged injuries flowing

 from increased visitation are either caused by the Biden Proclamations or redressable by an order

 from this Court. Accordingly, these theories of injury do not support standing.

                 2.      The State and Counties cannot demonstrate standing based on alleged
                         injuries to resources in which they do not allege a legally protectable
                         interest.

         The Garfield Plaintiffs also allege that the Biden Proclamations cause them injury because

 they “pre-empt [Utah’s] laws and policies”; “impede its ability to work on the land”; “impose

 administrative burdens on [Utah’s] workers”; and cause unidentified “impositions” to the

 Counties’ administrative planning, land management, facilities maintenance; etc. 126 However,

 these alleged injuries are not cognizable injuries for purposes of Article III standing. A plaintiff

 must demonstrate “an ‘injury in fact’”—which must, among other things, comprise “an invasion

 of a legally protected interest.” 127 And, the legally protected interest must be particularized to the

 plaintiffs—they must clearly “allege facts demonstrating that [they are] a proper party to invoke

 judicial resolution of the dispute.” 128

         Here, the Garfield Plaintiffs allege harms related to a variety of items for which they lack

 a legally protected interest, because the reservations apply only to federal land. The Garfield

 Plaintiffs have identified no legal basis for having their policy preferences implemented on federal

 lands. Plaintiff Utah, for instance, asserts injury due to alleged inconsistencies between how it


 126
     Garfield Compl. ¶¶ 21–24.
 127
     Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (quotations and citations omitted).
 128
     Schaffer v. Clinton, 240 F.3d 878, 883 (10th Cir. 2001) (quoting United States v. Hays, 515
 U.S. 737, 743 (1995)).


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 believes the Monuments will be managed by the United States, and how it believes the relevant

 federal lands should be managed. 129 But these allegations fail to identify a cognizable injury as a

 matter of law—states and counties do not have a legal right to impose their management

 preferences on federal lands within their boundaries. 130 Their management interests in federal

 lands are instead governed by, inter alia, the Federal Land Policy and Management Act

 (“FLPMA”), 131 which exists in harmony with the Antiquities Act, by affording a consultation role

 and limited other rights to states and counties while recognizing the supremacy of Federal law and

 management interests. Courts have made it clear that FLPMA imposes no obligation on the federal

 government to yield to State or local government preferences. 132

        Consistent with this federal statutory foundation for the State’s and County’s management

 interests, the Garfield Plaintiffs allege that the Monuments “deprive the State of its federal

 statutory procedural rights”—namely those afforded under FLPMA, 43 U.S.C. § 1712(c)(9). 133




 129
     Garfield Compl. ¶ 21 (alleging that “the reservations preempt [Utah’s] law and policies”); ¶
 202 (alleging that “the reservations also preempt the State’s policies” such as the “State of Utah
 Resource Management Plan for Federal Lands”); ¶ 204 (alleging that monuments are
 “antithetical” to States’ goals with respect to “Utah Grazing Agricultural Commodity Zones”).
 130
     See United States v. Bd. of Cnty. Cmm’rs of Cnty. of Otero, 843 F.3d 1208, 1215 (10th Cir.
 2016) (noting state law and county resolution “must yield to federal law regarding conduct on
 federal land”).
 131
     43 U.S.C. § 1712(c)(9).
 132
     Kane Cnty. Utah v. Salazar, 562 F.3d 1077, 1088 (10th Cir. 2009) (Section 1712(c)(9) “gives
 the Secretary of the Interior discretion to determine the extent to which the agency’s land use
 plans are consistent with State and local plans”); Nat’l Mining Ass’n v. Zinke, 877 F.3d 845, 877
 (9th Cir. 2017) (FLPMA requires, at most, that “Interior fully acknowledge[] and consider[] the
 Counties’ concerns”). With respect to the Counties, the Garfield Plaintiffs allege that the
 Proclamations “force local governments . . . to review, modify, and coordinate management
 plans in response to the reservations.” Garfield Compl. ¶ 192. This allegation is too vague to
 assert a cognizable injury—but in any case, it is not plausibly alleged that such activity is related
 to the Proclamations particularly, as opposed to any federal land use planning or decision-
 making with respect to federal lands.
 133
     Garfield Compl. ¶ 194.


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 But that section provides only that, in the development and revision of land use plans, the Secretary

 of the Interior shall:

         to the extent consistent with the laws governing the administration of the public
         lands, coordinate the land use inventory, planning, and management activities of
         or for such lands with the land use planning and management programs of other
         Federal departments and agencies and of the States and local governments within
         which the lands are located. 134

 Nothing in the Biden Proclamations is inconsistent with this requirement, which remains in force.

 Both Proclamations expressly reinforce the requirement by instructing that, in preparing a

 management plan for their respective monuments, the Secretaries of the Interior and Agriculture

 “shall provide for maximum public involvement in the development of that plan, including

 consultation with federally recognized Tribes and State and local governments.” 135 And any

 harms based on Plaintiffs’ anticipated outcomes of that cooperative planning process are

 speculative, as that planning process has not yet concluded.

         The Garfield Plaintiffs also allege that the Biden Proclamations will prevent them from

 “engaging in active land management,” including to “maintain healthy soils, safeguard against

 fire, protect native vegetation, and preserve wildlife habitats.” 136 But they cannot allege that the

 Biden Proclamations prevent them from undertaking whatever management they deem appropriate

 on their own lands. Rather, the lands impacted by the Proclamations are federal lands, managed

 by the federal land agencies. 137 The Garfield Plaintiffs fail to allege any past instances when they

 were allowed to “active[ly] manage” relevant federal land, let alone how they could have a legally



 134
     43 U.S.C. § 1712(c)(9).
 135
     BENM Procl., 86 Fed. Reg. at 57,332 (emphasis added).
 136
     Garfield Compl. ¶ 187.
 137
     The Complaint alleges that the monuments increase risk of damage to state and local property
 because they “prevent State and local efforts to clear brush and other fire fuels.” Garfield
 Compl. ¶ 205. But as noted above, nothing in the Proclamations can be deemed as having any
 impact on management of non-federal land.


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 protectable interest in being allowed to do so. To the extent they are alleging that federal agencies

 will not undertake “active management” that the Plaintiffs desire, those speculative allegations

 involve unripe APA claims, as they have not identified any such specific agency action or inaction.

        Further, while the Garfield Plaintiffs allege that certain resources are, in fact, harmed by

 the Biden Proclamations, they lack a protectable interest in those resources. For instance, their

 Complaint alleges, counterintuitively, that the Biden Proclamations harm paleontological and

 archeological resources. 138 These allegations largely rely on Plaintiffs’ contentions regarding

 increased visitation which, as discussed above, are defective as to causation and redressability.

 But even if that were not the case, these allegations fail to show injury in fact because Plaintiffs

 allege no ownership of—or any other legally-protectable interest in—archaeological and

 paleontological resources located on federal land. 139 To the contrary, such resources are on federal

 land, and the Complaint expressly recognizes the pervasive federal oversight over the management

 of such resources. 140

        In a similar vein, the Garfield Plaintiffs allege a variety of harms, which would accrue not

 to themselves, but to their citizens and residents. 141 But a plaintiff’s complaint must establish that

 the plaintiff has “such a personal stake in the outcome of the controversy as to warrant his




 138
     Garfield Compl. ¶¶ 144–49.
 139
     Cf. Catron Cnty. Bd. of Com’rs, New Mexico v. U.S. Fish & Wildlife Serv., 75 F.3d 1429,
 1433 (10th Cir. 1996) (allegations that federal designation of critical habitat would “prevent the
 diversion and impoundment of water by the County, thereby causing flood damage to county-
 owned property” alleged actual injury).
 140
     Garfield Compl. ¶ 80. Arguably, the State can assert a protectable interest with respect to
 wildlife. However, its alleged harm in the Complaint is the inability to undertake management
 activities, such as installing water facilities or preparing NEPA analyses, id. ¶ 154, that the
 Proclamations do not prohibit, see supra pp.9, 20–21.
 141
     See Garfield Compl. ¶¶ 175–180 (grazers); 181–85 (“local workers”); 209–13 (Native
 American interests”).


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 invocation of federal-court jurisdiction,” not that of a third party. 142 And it is well-established that

 entities such as the Garfield Plaintiffs cannot bring an action against the federal government on

 behalf of their citizens. 143

         In summary, the Garfield Plaintiffs’ effort to establish standing relies in large part on

 activities and resources for which they lack a legally protected interest, which is fatal to their effort.

                 3.       The Garfield Plaintiffs’ remaining allegations fail to establish standing.

         The Garfield Plaintiffs also allege that the Proclamations “deprive [the State] of

 revenue.” 144 While these allegations at least identify a potentially cognizable injury, 145 they

 ultimately fail due to their speculative nature.

         First, the State alleges that it will lose revenue because it receives “fees . . . tied to the

 number of grazing allotments in the State,” and President Biden’s “reservations facilitate, if not

 directly invite, the permanent retirement of grazing allotments.” 146 But as the State implicitly

 admits, the Proclamations do not themselves reduce the number of grazing allotments. Rather,

 they only provide that, should “grazing permits or leases be voluntarily relinquished by existing



 142
     See Laufer v. Looper, 22 F.4th 871, 876 (10th Cir. 2022) (quoting Summers v. Earth Island
 Inst., 555 U.S. 488, 493 (2009)) (emphasis added).
 143
     Wyoming v. U.S. Dep’t of Interior, 674 F.3d 1220, 1232 (10th Cir. 2012) (petitioners “cannot
 bring a suit on behalf of local business owners, i.e., their citizens, but must instead sue to protect
 their own sovereign interest”); State ex rel. Sullivan v. Lujan, 969 F.2d 877, 883 (10th Cir. 1992)
 (“we agree that the State does not have standing as a parens patriae to bring an action on behalf
 of its citizens against the federal government because the federal government is presumed to
 represent the State’s citizens”); Stewart v. Norton, 2:06 CV 209, 2006 WL 3305409, at *4 (D.
 Utah Sept. 29, 2006), aff’d sub nom. Stewart v. Kempthorne, 554 F.3d 1245 (10th Cir. 2009)
 (grazing allotment) (“The Counties concede that their claimed injury cannot flow from a parens
 patriae interest in the outcome of the litigation”)
 144
     Garfield Compl. ¶ 21.
 145
     See Mt. Evans Co. v. Madigan, 14 F.3d 1444, 1451 (10th Cir. 1994).
 146
     Utah also alleges that “it provides grants, loans and aid to ranchers to support grazing” but
 that “restrictions that accompany the reservations impede some of those State-funded projects.”
 Garfield Compl. ¶ 206. It is entirely unclear what this means—but in any case, the alleged injury
 would appear to be that of the grazing beneficiaries, not the State.


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 holders,” the associated lands will be retired from grazing. 147 The State’s speculation about

 possible future injury from other entities’ voluntary relinquishment of a permit or lease is

 inadequate to demonstrate a certainly impending injury at the time filed their Complaint. 148

        Similarly, the State alleges that it will lose revenue from “rare-earth mineral and other

 mining.” 149 But, as an initial matter, the Proclamations do not bar all future mineral development

 within the monument boundaries. 150 Furthermore, the State’s specific allegations of potential lost

 royalties tie directly to the 1996 Clinton Proclamation—which they do not challenge—and not to

 the Biden Proclamation. 151 In contrast, the State has not clearly alleged any facts that the Biden

 Proclamations, by restoring the lands reserved for the two monuments, have (or imminently will)

 result in lost revenue to the State. More specifically, the State has not made any factual allegations

 that the Biden Proclamations have prevented any planned mineral development projects on any of

 those lands brought back within either of the monuments by the Biden Proclamations. As such,

 the State fails to demonstrate any current, or “certainly impending,” loss of royalties caused by

 either of the Proclamations. 152

        Finally, the State’s allegation that it is harmed by being “forced to give up its own school

 trust lands within the reservations’ boundaries” fails as a matter of law. The State voluntarily


 147
     GSENM Procl., 86 Fed. Reg. at 57,346.
 148
     Clapper v. Amnesty Intern. USA, 568 U.S. 398, 409 (2013) (“threatened injury must be
 certainly impending to constitute injury in fact, and that allegations of possible future injury are
 not sufficient”) (cleaned up); Simon v. E. Kentucky Welfare Rts. Org., 426 U.S. 26, 44–45 (1976)
 (“indirectness of injury . . . may make it substantially more difficult to meet the minimum
 requirement of Art. III”) (cleaned up).
 149
     Garfield Compl. ¶ 207.
 150
     S. Utah Wilderness All. v. Palma, 707 F.3d 1143, 1149 (10th Cir. 2013) (noting that under
 prior Proclamation, “new mineral leasing within the monument is prohibited, although mineral
 development is permitted under existing leases”).
 151
     Garfield Compl. ¶ 207 (alleging that State was projected to receive substantial direct and
 indirect revenues from the “high-grade coal” in GSENM, as reported in a 1998 House of
 Representatives report).
 152
     Clapper, 568 U.S. at 409.


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 exchanged its school trust lands within the boundaries of GSENM in 1998, 153 and the BENM

 Proclamation provides only that “the Secretary of the Interior shall explore entering into a

 memorandum of understanding with the State of Utah that would set forth terms, pursuant to

 applicable laws and regulations, for an exchange of land owned by the State of Utah . . . within the

 boundary of the monument.” 154 The Court may therefore disregard the allegation that the

 Proclamation “forces” Utah to enter into a land exchange agreement. 155

        B.      The Dalton Plaintiffs fail to adequately allege standing to challenge the
                Grand Staircase-Escalante Proclamation.

        The Dalton Plaintiffs bring largely identical challenges to the two Biden Proclamations.

 Dalton is brought by the following four plaintiffs: (1) Zebediah George Dalton, owner of TY

 Cattle Company, with operations in southwestern Utah; (2) the BlueRibbon Coalition (“BRC”), a

 non-profit focused on protecting public recreation access to public lands; (3) Kyle Kimmerle,

 managing member of Kimmerle Mining LLC, with mining interests in southeastern Utah; and (4)

 Suzette Ranea Morris, a member of the Ute Mountain Ute, who resides in the vicinity of

 BENM. 156 As explained below, none of these Plaintiffs have standing to challenge the GSENM

 Proclamation, and three of them lack standing altogether.




 153
     See Utah Schools and Land Exchange Act of 1998, Pub. L. No. 105-335, 112 Stat. at 3140
 (explaining that “the State of Utah and the United States have reached an agreement under which
 the State would exchange all its State school trust lands within [GSENM] . . . for various Federal
 lands and interests in lands located outside the Monument”).
 154
     BENM Procl., 86 Fed. Reg. at 57,332.
 155
     See, e.g., eCash Techs., Inc. v. Guagliardo, 210 F. Supp. 2d 1138, 1144 n.7 (C.D. Cal. 2001)
 (“the Court may disregard allegations . . . if they are contradicted by facts established by
 reference to documents” relied on in the pleading and “the Court need not accept as true
 allegations that contradict facts which may be judicially noticed by the Court”).
 156
     Dalton Compl. ¶¶ 12–15, 112, 127, 142.


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                1.      All the individual plaintiffs fail to establish standing to challenge
                        Proclamation 10,286.

        Mr. Dalton, Ms. Morris, and Mr. Kimmerle (together the “individual Plaintiffs”)—should

 be dismissed as plaintiffs with respect to the challenge to the GSENM Proclamation, because they

 allege no injury related to GSENM. As noted above, a plaintiff must establish standing for each

 claim asserted. 157 But, despite challenging the GSENM Proclamation, 158 the individual Plaintiffs

 allege no injury related to GSENM. Plaintiff Kimmerle alleges harm only relating to alleged

 mining interests in or near BENM. 159 As discussed below, Dalton’s and Morris’ allegations of

 harm relate solely to activities at or in the vicinity of BENM. None of these plaintiffs even mention

 GSENM or Proclamation 10,286—let alone any facts that that could demonstrate that they have

 standing to challenge the Proclamation. Accordingly, at very least, the individual Plaintiffs should

 be dismissed as plaintiffs with respect to the challenge to Proclamation 10,286.

                2.      The Complaint fails to adequately allege standing for Plaintiffs Dalton and
                        Morris.

        The Dalton Complaint fails to clearly allege facts establishing any standing for plaintiffs

 Dalton and Morris. 160 Both of these plaintiffs assert injury relating to their activities at or in the

 vicinity of the BENM—but both fail to clearly allege facts establishing their standing.

        Mr. Dalton alleges that “three-quarters of [his] ranch is now within Bears Ears.” 161 His

 primary concern arises from his perception of the overly burdensome nature of federal regulation

 of his operations. 162 But this allegedly pervasive “federal regulation” of Mr. Dalton’s activities



 157
     See TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021); Colo. Outfitters Ass’n v.
 Hickenlooper, 823 F.3d 537, 551 (10th Cir. 2016).
 158
     See Dalton Compl. ¶¶ 50–61, 152–59.
 159
     Id. ¶¶ 115–26.
 160
     Lujan, 504 U.S. at 560; Schaffer, 240 F.3d at 883.
 161
     Dalton Compl. ¶ 127.
 162
     Id. ¶¶ 130–31.


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 predate the BENM Proclamation, as demonstrated by Mr. Dalton’s specific examples. 163 Further,

 while Mr. Dalton vaguely alleges that he believes federal oversight will become even more onerous

 under the BENM Proclamation, he provides no factual allegations demonstrating an actual or

 imminent injury from the issuance of that Proclamation. Indeed, his primary concern appears to

 be that state lands (e.g., lands managed by the Utah School and Institutional Trust Lands

 Administration (“SITLA”)) that his cattle graze on may be transferred as part of a land exchange

 agreement to the United States—and he prefers SITLA’s management to that of BLM. 164 But the

 BENM Proclamation does not (and could not) mandate a land exchange. 165 Rather, any land

 exchange would, assuming that it was successfully negotiated between the United States and Utah,

 have to be approved through future action, such as an Act of Congress. 166 Because he has provided

 no allegations that such action is imminent, these allegations cannot establish a a “certainly

 impending” injury. 167 Mr. Dalton should therefore be dismissed as a plaintiff.

        The Dalton Complaint similarly fails to clearly allege facts demonstrating an actual injury

 to Ms. Morris. Ms. Morris, a member of the Ute Mountain Ute tribe, alleges that she and her

 community “depend on ready access” to lands (presumably, although not specifically alleged to

 be, those reserved under the BENM Proclamation). 168 But nothing in either Proclamation prevents



 163
     See id. ¶ 135 (noting that “[f]or years, [Mr. Dalton] has tried to obtain permission . . .”)
 (emphasis added); ¶ 139 (alleging that it took 20 years for BLM approval of a fence); see also
 Declaration of Zebediah George Dalton ¶ 11, ECF No. 2-7 (“Dalton Decl.”) (asserting that he is
 awaiting approval of 2016 application of 6 wells from BLM and 2018 application for 19 wells
 from Forest Service).
 164
     Id. ¶¶ 132–34.
 165
     See generally BENM Procl., 86 Fed. Reg. at 57,321–34.
 166
     See, e.g., Utah Schools & Lands Exchange Act of 1998, Pub. L. No. 105-335, 112 Stat. 3139
 (approving prior land exchange between the United States and Utah).
 167
     See Kan. Nat. Res. Coal. v. U.S. Dep’t of Interior, 971 F.3d 1222, 1234 (10th Cir. 2020)
 (allegations relating to an “analysis that has yet to take place,” the outcome of which is unknown,
 “cannot show a certainly impending injury”).
 168
     Dalton Compl. ¶ 147.


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 Ms. Morris from visiting the federal lands comprising BENM or GSENM. Furthermore, Ms.

 Morris alleges concerns that the BENM Proclamation may prohibit gathering of firewood, cedar

 posts for the Bear Dance, “choke cherries, wild onions, sage, willows, sweet grass, yucca,

 medicinal herbs and the like.” 169 But she recognizes that such restrictions were not imposed under

 President Obama’s earlier Proclamation 9,558—which “protected Native American access for

 ‘traditional cultural and customary uses.’” 170 This recognition negates Ms. Morris’ alleged injury,

 because the provision from Proclamation 9,558 protecting cultural and customary uses by

 individuals such as Ms. Morris is incorporated by reference in the BENM Proclamation. 171 As

 such, the Complaint fails to “clearly allege facts” supporting an actual injury to Ms. Morris as

 well. 172

                3.      BlueRibbon Coalition does not adequately allege standing.

         Plaintiff BRC is an organization that “work[s] to protect public recreation access to public

 lands.” 173 An organization such as BRC can assert standing in two ways: First, it may have

 standing to bring suit on behalf of its members (“associational standing”) “when its members

 would otherwise have standing to sue in their own right, the interests at stake are germane to the

 organization’s purpose, and neither the claim asserted nor the relief requested requires the

 participation of individual members in the lawsuit.” 174 Alternatively, an organization may assert


 169
     Id.
 170
     Id.; see also Establishment of BENM, 82 Fed. Reg. at 1145 (requiring the Secretaries of the
 Interior and Agriculture, “to the maximum extent permitted by law and in consultation with
 Indian tribes . . . provide access by members of Indian tribes for traditional cultural and
 customary uses . . . including collection of medicines, berries and other vegetation, forest
 products, and firewood for personal noncommercial use”).
 171
     See BENM Procl., 86 Fed. Reg. at 57,332 (providing that Secretaries shall manage the
 monument under its terms and “unless otherwise specifically provided herein, those provided by
 Proclamation 9558, the latter of which are incorporated herein by reference”).
 172
     Spokeo, 578 U.S. at 338 (cleaned up).
 173
     Dalton Compl. ¶ 13.
 174
     Friends of the Earth, Inc, 528 U.S. at 181.


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 standing on its own behalf (“organizational standing”), if it meets the standing requirements that

 apply to individuals. 175

         BRC cannot establish associational standing because the Complaint’s allegations do not

 establish that its members have standing. For instance, the Complaint alleges that the two

 monuments “gutted many local economies,” causing harm to BRC’s members—but it also

 describes these impacts as arising under the original creation of the two monuments. 176 Plaintiffs

 cannot therefore establish a “substantial likelihood” that the Biden Proclamations caused the

 alleged harm, which—by Plaintiffs’ own admissions—commenced years before October 2021. 177

 And it necessarily follows that vacating the Biden Proclamations and enjoining Defendants will

 not re-establish allegedly harmed local economies, creating significant redressability problems.178

 In addition, these alleged injuries relate to the BRC members’ economic prospects, not to BRC’s

 purpose of “protect[ing] public recreation access to public lands.” 179 Injuries not germane to

 BRC’s purposes cannot support BRC’s standing.180 For the same reason, allegations regarding the

 impact of BENM on BRC member Shane Shumeway’s ranching, construction, and mining

 interests cannot support BRC’s alleged standing, and the same is true of Ms. Griffith’s allegations

 about impacts of the “monument-induced seasonal economy.” 181




 175
     Colo. Taxpayers Union, Inc. v. Romer, 963 F.2d 1394, 1397 (10th Cir. 1992).
 176
     See Dalton Compl. ¶¶ 79–87 (describing ways in which President Clinton’s Proclamation
 “gutted many local economies” and resulted in changes to local communities based on people
 leaving or having to find jobs related to seasonal tourist industry); id. ¶ 89 (alleging harm cause
 by President Obama’s Proclamation, including causing “a massive influx of visitors”). Any
 challenges to Proclamations that issued over six years ago are barred by 28 U.S.C. § 2401(a).
 177
     See Habecker, 518 F.3d at 1225.
 178
     See id. (complaint must allege facts establishing that it would be “likely, as opposed to merely
 speculative, that the injury will be redressed by a favorable decision.”).
 179
     Dalton Compl. ¶ 13.
 180
     See Friends of the Earth, Inc, 528 U.S. at 181.
 181
     Dalton Compl. ¶¶ 7, 85, 101.


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        Other allegations regarding injury to BRC members are also defective. For instance, the

 Complaint alleges that BRC member Trail Hero runs a business, the “biggest function” of which

 is running an “annual off-roading event in Southern Utah.” 182 Plaintiffs allege that “but for the

 regulatory climate that the President’s proclamation has unleashed,” Trail Hero “would be

 expanding into some of the towns and areas at issue.” 183 But Plaintiffs do not allege that the Trail

 Hero annual event has ever occurred on federal lands (regardless of Monument status), nor do they

 allege that any application to hold such an event on either of the Monuments has ever been made—

 let alone denied. Plaintiffs’ vague statements of allegedly thwarted, potential future plans are

 therefore insufficient to describe an actual, imminent injury. 184

        The Complaint also alleges that other members, such as Brent Johansen and Simone

 Griffith are harmed due to closures of roads or areas within BENM and GSENM respectively. 185

 However, the Dalton Complaint does not actually allege that any of these named individuals has

 previously used a specific road or campsite that is now closed as a result of the Biden

 Proclamations—and as a result these allegations are inadequate. 186 Indeed, by their terms, neither

 of the Biden Proclamations closes any roads, and Plaintiffs are merely speculating about what the

 “future” may “portend” when the agencies adopt monument management plans. 187 And, to the

 extent the Dalton Complaint identifies specific roads or off-roading areas as being closed, those


 182
     See Dalton Compl. ¶¶ 96–97; Declaration of Richard Klein ¶ 4, ECF No. 2-3 (“Klein Decl.”).
 183
     Dalton Compl. ¶ 97.
 184
     See Lujan, 504 U.S. at 564 (“such ‘some day’ intentions—without any description of concrete
 plans, or indeed even any specification of when the some day will be—do not support a finding
 of the ‘actual or imminent’ injury that our cases require”).
 185
     Dalton Compl. ¶¶ 94, 99, 104; see also Declaration of Brent Johansen ¶ 5, ECF No. 2-4
 (“Johansen Decl.”) (alleging that unidentified “[r]oad and trails are being closed, denying access.
 Favorite camping spots are being closed”).
 186
     See Summers, 555 U.S. at 499 (“plaintiffs must show that they ‘use the area affected by the
 challenged activity and not an area roughly in the vicinity of’ a project site”) (quoting Lujan, 504
 U.S. at 566).
 187
     Dalton Compl. ¶ 77.


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 roads and areas either remain open (as in the case of the Little Desert OHV area, the Kitchen Corral

 road, and Inchworm Arch road) 188; or are unaffected by the Biden Proclamations (as in the case of

 Park Wash and Deer Springs Wash roads). 189 To be sure, Plaintiffs’ allegations may reasonably

 be construed as asserting that BRC and its members fear that new road or other closures may occur

 in the future given the Proclamations’ preservation focus—but any such injuries have not

 occurred—and are not “certainly impending.” 190 In sum, because the Complaint does not allege

 any actual and imminent injury facing BRC’s members, it fails to establish that BRC has

 associational standing.

        BRC’s attempt to allege organizational standing also fails.            As noted above, an

 “organization has standing on its own behalf if it meets the standing requirements that apply to

 individual.” 191 In doing so, it must show more than “simply a setback to the organization’s abstract

 social interests.” 192 Rather, it must show a “concrete and demonstrable injury to the organization’s

 activities.” 193 This showing can be supported by a “consequent drain on the organization’s




 188
     Declaration of Harry Barber ¶¶ 7–9, 11 (“Barber Decl.”). For example, Simone Griffin, who
 is the BRC’s Policy Director, asserts that “as a result of President Biden’s proclamation, the
 Little Desert OHV area has been closed to off-roading and motorized vehicles.” Declaration of
 Simone Griffin ¶ 13, ECF No. 2-2 (“Griffin Decl.”). Nothing in the Proclamation so states—and
 in fact, this assertion is inaccurate. Barber Decl. ¶¶ 7–9. Ms. Griffin’s inconsistencies are not
 limited to that statement. For instance, she makes the contradictory assertions that during the
 winter months, “it is near impossible for us to find enough help to keep the store going,” and “in
 the winter, we will often have more employees than we need.” Griffin Decl. ¶¶ 7–8.
 189
     Barber Decl. ¶ 10.
 190
     See Clapper, 568 U.S. at 409 (noting that “allegations of possible future injury are not
 sufficient”) (interal quotations omitted).
 191
     Romer, 963 F.2d at 1396.
 192
     Id. at 1397 (quoting Havens Realty Corp. v. Coleman, 455 U.S. 363, 378–79 (1982)).
 193
     Id.


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 resources.” 194 However, the mere “expenditure of resources on advocacy is not a cognizable

 Article III injury.” 195

         BRC fails to establish organizational standing under these principles. It alleges that the

 Biden Proclamations forced it to divert resources to “new efforts designed to educate members

 and other stakeholders about the consequences and regulations of the two national monuments at

 issue here.” 196 This allegation lacks plausibility on its face: the monuments are not newly-formed.

 GSENM has existed since 1996, and BENM has existed since 2016. 197 Further, although from a

 period from late 2017 to 2021 the boundaries of both monuments were reduced, they still

 collectively encompassed approximately 1.11 million acres and have existed, albeit in a reduced

 state, since their respective establishments. 198 Even setting this factual implausibility aside,

 however, Plaintiffs’ alleged diversion of time and resources are the type of advocacy expenditures

 and self-inflicted budgetary choices that courts have refused to recognize as “cognizable Article

 III injury.” 199

         BRC’s allegations that the “monuments have also directly interfered with [its] initiatives”

 are equally unavailing. Plaintiffs allege only that BRC has recently started “the Dispersed

 Camping Access Alliance” to “advocate for the interests of dispersed camping users.” 200 The


 194
     Id.
 195
     See Turlock Irrigation Dist. v. FERC, 786 F.3d 18, 23–24 (D.C. Cir. 2015); see also Animal
 Leg. Def. Fund v. Kelly, 434 F. Supp. 3d 974, 996 (D. Kan. 2020) (finding that plaintiff
 organization’s decision to channel money from certain programs into others, in response to the
 Act, is a “self-inflicted budgetary choice.”) (internal citation omitted); Equal Means Equal v.
 Ferriero, 478 F. Supp. 3d 105, 123 (D. Mass. 2020) (holding that alleged “policy and advocacy
 based injuries” based on the expenditure of “significant resources educating, advocating and
 communicating with the public around the country to counteract Defendant’s unlawful actions”
 were insufficient to establish the plaintiff organizations’ injury) (internal quotations omitted).
 196
     Dalton Compl. ¶ 105.
 197
     Id. ¶¶ 55 & 64.
 198
     See id. ¶¶ 119–20, 122, and map at p.26.
 199
     See Turlock Irrigation Dist., 786 F.3d at 23; Animal Leg. Def. Fund, 434 F. Supp. 3d at 996.
 200
     Dalton Compl. ¶ 106.


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 nature of this endeavor is unclear at best—but the Complaint certainly contains no facts

 demonstrating that BRC is somehow no longer able to continue “advocating” with respect to

 dispersed camping. Instead, BRC’s claimed injury appears to be that BRC believes that future

 management of the monuments may be inconsistent with its policy preferences. However, such a

 concern—of a potential future “setback to the organization’s abstract social interests”—is neither

 sufficiently imminent nor concrete to describe an actual injury for Article III. 201 Accordingly, the

 Complaint also fails to clearly allege facts that could establish organizational injury to BRC.

 III.   Plaintiffs’ Claims Should Be Dismissed For Failing To Identify Improperly
        Designated Lands With Sufficient Particularity.

        Even if the Court could review the President’s discretionary judgments under the

 Antiquities Act and Plaintiffs established standing to bring such claims, their claims must still be

 dismissed for failure to state a claim upon which relief can be granted. As the D.C. Circuit

 explained in Tulare County v. Bush, 202 a plaintiff lodging an Antiquities Act challenge must, at a

 minimum, direct the court with specificity to the lands that are allegedly designated without

 statutory authority in order to withstand challenge under Rule 12(b)(6). In that case, for example,

 the plaintiffs alleged that President Clinton had violated the Antiquities Act by reserving too much

 land when creating the Grand Sequoia National Monument. But the D.C. Circuit upheld the

 dismissal of their complaint for “fail[ing] to identify the improperly designated lands with

 sufficient particularity to state a claim.” 203 The court explained that their claim “depend[ed] on

 the proposition that parts of the Monument lack scientific or historical value,” an issue that required

 specific factual allegations identifying the allegedly improperly reserved land. 204



 201
     See Romer, 963 F.2d at 1396.
 202
     306 F.3d 1138, 1142 (D.C. Cir. 2002).
 203
     Id.
 204
     Id.


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         Here, Plaintiffs have made no allegations identifying specific parcels of land that lack

 scientific or historical value, let alone connected such parcels to an alleged injury. For example,

 Plaintiff Kyle Kimmerle alleges that he is injured from the heightened procedures applicable to his

 mining claims.205 But he never alleges that the locations of his mining claims lack objects of

 historic or scientific value. 206 And given the “unique density of significant cultural, historical, and

 archaeological artifacts” in BENM, the absence of such an allegation is telling. 207 The remaining

 Dalton Plaintiffs likewise provide no allegations identifying specific parcels of relevant land that

 allegedly lack historic or scientific value.

         Similarly, the Garfield Plaintiffs fail to make nonconclusory allegations that there are areas

 of either monument that lack historic or scientific value. Although they include two maps that

 they claim demonstrate that “vast expanses of terrain are not justified by any likely qualifying

 items or by their proper care and management,” 208 these maps omit numerous undisputed objects

 of historic or scientific interest. For example, their Bears Ears map omits the Grand Gulch, a

 canyon “replete with thousands of cliff dwellings and rock writing sites.” 209 Similarly, their Grand

 Staircase-Escalante map omits numerous fossil sites for “taxa that are entirely new to science,

 including a vast array of horned dinosaurs, such as the Nasutoceratops, Kosmoceratops, and

 Utahceratops, a new species of Gryposaurus possessing a more robust skull, a new raptor, and the

 tyrannosaurid Teratophoneus.” 210 Nowhere in their Complaint do the Garfield Plaintiffs deny that

 either these fossil sites or the Grand Gulch are qualifying objects of historic or scientific interest.




 205
     Dalton Compl. ¶¶ 108–26.
 206
     See id.
 207
     BENM Procl., 86 Fed. Reg. at 57,321.
 208
     Garfield Compl. ¶ 299.
 209
     BENM Procl., 86 Fed. Reg. at 57,329.
 210
     GSENM Procl., 86 Fed. Reg. at 57,340.


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        Rather than meet these straightforward pleading standards by identifying specific parcels

 of reserved land that allegedly cause their injury and lack historic or scientific value, Plaintiffs

 instead suggest that they can state a claim merely by identifying a single designated “object of

 historic or scientific interest” that does not qualify for protection under the Antiquities Act, because

 the Proclamations do not contain explicit smallest area determinations for each of the designated

 objects. 211 But, as an initial matter, Plaintiffs’ proposed approach overlooks that “[i]f any

 provision of this proclamation, including its application to a particular parcel of land, is held to be

 invalid, the remainder of this proclamation and its application to other parcels of land shall not be

 affected.” 212 Thus, for example, even were Plaintiffs to prevail on their argument that landscapes

 cannot be objects of historic or scientific interest, the monument status of the remaining objects of

 interest—such as archaeological and paleontological sites—would not be disturbed. And given

 both the distribution213 and density 214 of these remaining objects, Plaintiffs have failed to state a

 claim upon which relief can be granted even were the Court to determine that the Grand Staircase-

 Escalante and Bears Ears landscapes cannot themselves qualify as objects of historic or scientific

 interest. Even if so, Plaintiffs have provided no plausible allegation that the reservation of land

 would change.

        Moreover, even setting aside severability, no court has ever sanctioned such a sweeping

 approach to judicial review of Presidential actions under the Antiquities Act, under which even a

 single invalid object designation would invalidate an entire proclamation. This Court should


 211
     E.g., Dalton Compl. ¶ 6.
 212
     E.g., BENM Procl., 86 Fed. Reg. at 57,333.
 213
     See supra pp.5–6.
 214
     E.g., BENM Procl., 86 Fed. Reg. at 57,321 (describing “the landscape’s unique density of
 significant cultural, historical, and archaeological artifacts spanning thousands of years”);
 GSENM Procl., 86 Fed. Reg. at 57,336 (“Scientists have utilized every corner of the monument
 in their efforts to better understand our environment, our history, our planet’s past, and our place
 in the universe.”).


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 decline to do so because, even without separate smallest area determinations for each designated

 object, the challenged Proclamations reflect Presidential intent to, at a minimum, reserve parcels

 of land containing any of the designated objects of interest pursuant to the Antiquities Act. 215 Such

 Presidential actions “pursuant to an Act of Congress [are] supported by the strongest of

 presumptions and the widest latitude of judicial interpretation, and the burden of persuasion would

 rest heavily upon any who might attack” them. 216 Given the strong presumption in favor of

 Presidential actions pursuant to express Congressional authorization, the Court should hold

 Plaintiffs to the threshold pleading requirement to specifically identify reserved parcels of land

 lacking historic or scientific value that cause their injury. 217 Plaintiffs’ requested approach, on the

 other hand, “would produce needless head-on confrontations between district judges and the Chief

 Executive.” 218 If all it takes to challenge a Presidential Proclamation under the Antiquities Act is

 disagreement with a single object designation coupled with an interest somewhere in the reserved

 lands, district courts would confront numerous challenges asking them to review Presidential

 judgments about which objects are sufficiently interesting from a historic or scientific standpoint

 to merit monument protections. 219 Because the Court should be most reluctant to “substitute its

 judgment for that of the President, . . . in an arena in which the congressional intent most clearly

 manifest is . . . to delegate decision-making to the sound discretion of the President,” 220 the Court

 should be especially “sensitive to pleading requirements.” 221




 215
     See BENM Procl., 86 Fed. Reg. at 57,333.
 216
     Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952) (Jackson, J., concurring).
 217
     See Tulare Cty., 306 F.3d at 1142.
 218
     Franklin, 505 U.S. at 828 (Scalia, J., concurring).
 219
     See, e.g., Garfield Compl. ¶¶ 225, 235, 256–67 (asking the Court to determine which objects
 are “socially momentous or had an assured place in history”).
 220
     Utah Ass’n of Counties, 316 F. Supp. 2d at 1186.
 221
     Mountain States Legal Found. v. Bush, 306 F.3d 1132, 1137 (D.C. Cir. 2002).


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 IV.     Plaintiffs Have Failed To State A Claim For Violation Of The Antiquities Act
         Because Their Claims Fail As A Matter Of Law.

         Given Plaintiffs’ failure to identify any specific portions of either Monument that allegedly

 lack archaeological artifacts and the density of archaeological artifacts described in both

 Proclamations, the Court need not reach the merits of Plaintiffs’ claims and consider whether other

 types of “objects” qualify. Should the Court do so, however, those claims fail on merits, as

 explained below. No court has ever invalidated a Presidential designation of a monument for

 violating the Antiquities Act, and this Court should decline to be the first. The Court should

 dismiss Plaintiffs’ arguments for contradicting the plain text of the Antiquities Act, overlooking

 on-point Supreme Court precedent, and mischaracterizing the challenged Proclamations.

         A.      The President’s Antiquities Act authority is not confined to protecting
                 archaeological objects.

         Plaintiffs first assert that the President’s delegated authority to designate “objects of

 historic or scientific interest” should be limited to archaeological antiquities. 222 The Court should

 reject this argument for contradicting the plain text of the Antiquities Act and Supreme Court

 precedent.

         Plaintiffs concede that the plain language of the Antiquities Act delegates “broad” authority

 to the President to designate “objects of historic or scientific interest.” 223 But they ask the Court

 to cabin this “broad” language to cover only “relics or monuments of ancient times,” such as “a

 coin, a statue,” “building[s], pillar[s], stone[s], or the like.” 224 Nothing in the text of the Antiquities

 Act suggests such a limitation—indeed, many “objects of . . . scientific interest” come from the

 natural world and not from human creations of “ancient times.” And, in any event, the Supreme



 222
     E.g., Garfield Compl. ¶¶ 44–47, 235.
 223
     Garfield Compl. ¶ 235.
 224
     Garfield Compl. ¶¶ 240–41.


                                                     44
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 Court already rejected the parallel argument that, under the Antiquities Act, “the President may

 reserve federal lands only to protect archeologic sites.” 225 Instead, the Cameron Court held that

 the Grand Canyon qualified as “an object of unusual scientific interest,” 226 and the Cappaert Court

 held that both a rare species and its habitat “are ‘objects of historic or scientific interest,’” under

 the Antiquities Act. 227 Plaintiffs provide no reasoned basis to disregard the Supreme Court’s

 holdings on this topic.

         B.      Species and their habitats can be “objects of historic or scientific interest.”

         The Court should also reject Plaintiffs’ argument that the challenged habitats or species

 cannot constitute “objects of historic or scientific interest.” 228 Like Plaintiffs’ prior argument, this

 claim defies Supreme Court precedent: In Cappaert, the Court stated that rare “fish” were “features

 of scientific interest,” and upheld Presidential action finding that “the natural habitat of the

 species” should also “be preserved.” 229 Similar to the species and habitat at issue in Cappaert, the

 challenged Proclamations protect rare or endemic species and habitat found almost nowhere

 else. 230 The Proclamations describe the relationships between these rare species and unique




 225
     Cappaert, 426 U.S. at 141–42.
 226
     Cameron, 252 U.S. at 455–56.
 227
     Cappaert, 426 U.S. at 141–42.
 228
     E.g., Garfield Compl. ¶¶ 250–52; Dalton Compl. ¶ 5
 229
     Cappaert, 426 U.S. at 141.
 230
     E.g., BENM Procl., 86 Fed. Reg. at 57,328 (the Valley of the Gods “provides habitat for
 Eucosma navajoensis, an endemic moth that lives nowhere else”); GSENM Procl., 86 Fed. Reg.
 at 57,337 (describing the “high number of endemic species” in “ the Grand Staircase-Escalante
 landscape, which contains 50 percent of Utah’s rare flora and 125 species of plants that occur
 only in Utah or on the Colorado Plateau”); id. at 57,341 (the Smoky Mountain area is “home to a
 number of rare and endemic plant species, including Atwood evening primrose and Smoky
 Mountain globemallow”); id. at 57,342 (“Cottonwood Canyon and the nearby Rimrocks area are
 home to a number of rare plants, such as the Tropic goldeneye and Atwood’s pretty phacelia. . . .
 and is home to a number of rare bee species as well as a number of hot desert endemic species of
 bees”); id. at 57,343 (the Grand Staircase area contains “rare and endemic plant species, such as
 the Higgins spring parsley and Kane breadroot”).


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 characteristics of the reserved land, explaining how the habitat has affected the species, similar to

 how the underground pool affected the desert pup fish in Cappaert:

        An abundance of unique, isolated plant communities can be found, such as
        hanging gardens, tinajas, and rock crevice, canyon bottom, and dunal pocket
        communities. Large expanses of various exposed geologic strata, each with
        unique physical and chemical characteristics, have resulted in a spectacular array
        of unusual and diverse soils, including desert pavement and biological soil crusts,
        which support a wide range of vegetative communities, such as relict plant
        communities that have existed since the Pleistocene, and a multitude of endemic
        plants and pollinators. For example, lands within the Grand Staircase-Escalante
        landscape contain an astounding biodiversity of bees due, in large part, to the
        substantial elevational gradient, diversity of habitats, and abundance of flowering
        plants. The area is home to hundreds of bee species, including dozens of species
        that are believed to be unique to this landscape. Many of the species found in the
        Grand Staircase-Escalante region are highly localized, with small populations
        occurring in only a few locations or near certain flowering plants. 231

        Despite the Cappaert precedent, Plaintiffs contend that species cannot be considered

 “objects . . . that are situated on land.” 232 Despite providing many definitions of statutory terms,

 Plaintiffs omit the definition of “situated,” as “[h]aving a site, situation, or location; being in a

 relative position; permanently fixed; located” 233 and “residing.” 234 At a minimum, species such

 as the “Eucosma navajoensis, an endemic moth that lives nowhere else” plainly are “reside” or are

 “located” in that unique habitat. Accordingly, the Court should dismiss Plaintiffs’ challenge to the

 inclusion of species, habitat, and ecosystems in the challenged Proclamations. 235




 231
     GSENM Procl., 86 Fed. Reg. at 57,337.
 232
     Dalton Compl. ¶ 154; Garfield Compl. ¶ 250.
 233
     Webster’s New International Dictionary of the English Language 1965 (G. & C. Webster,
 1917).
 234
     Webster’s Practical Dictionary 388 (1906).
 235
     See Tulare Cty., 306 F.3d at 1141–42 (dismissing challenge to Proclamation including
 ecosystems).


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          C.     The Bears Ears and Grand Staircase-Escalante landscapes qualify as
                 “objects of historic or scientific interest.”

          The Court should dismiss Plaintiffs’ challenge to the designation of the GSENM and

 BENM landscapes as objects of historic or scientific interest. President Biden appropriately

 designated the BENM landscape as an object of interest, given the “the landscape’s unique density

 of significant cultural, historical, and archaeological artifacts spanning thousands of years,

 including remains of single family homes, ancient cliff dwellings, large villages, granaries, kivas,

 towers, ceremonial sites, prehistoric steps cut into cliff faces, and a prehistoric road system that

 connected the people of Bears Ears to each other and possibly beyond.” 236 Indeed, the BENM

 landscape was instrumental to the passage of the Antiquities Act, as the legislative history

 specifically notes the importance of protecting the “very numerous” ruins along “Cottonwood

 Creek, Butler Wash, Comb Wash, and Grand Gulch,” even though “[c]omparatively little” was

 known about these ruins at this time.237 Rather than protect these numerous ruins individually, the

 legislative history demonstrates that Congress considered protecting them by “principal groups or

 district of ruins of each great culture area,” such as that along the “great basin” of the San Juan

 river. 238

          Similarly, President Biden appropriately designated the GSENM landscape as an object of

 interest because “in the 25 years since its [initial] designation [in 1996], Grand Staircase-Escalante

 has fulfilled the vision of an outdoor laboratory with great potential for diverse and significant

 scientific discoveries. During this period, hundreds of scientific studies and projects have been

 conducted within the monument, including”:

          investigating how the monument’s geology provides insight into the hydrology of
          Mars; discovering many previously unknown species of dinosaurs, some of which

 236
     BENM Procl., 86 Fed. Reg. at 57,321.
 237
     H.R. Rep. No. 59-2224, at 5.
 238
     Id. at 3.


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        have become household names; unearthing some of the oldest marsupial fossils
        ever identified; conducting extensive inventories of invertebrates, including the
        identification of more than 600 species of bees, some of which likely exist
        nowhere else on Earth; performing hydrologic research in the Escalante River and
        Deer Creek; studying and restoring habitat for amphibians, mammals, and bird
        species, including the reintroduction of bighorn sheep and pronghorn to their
        native range; completing rangeland science assessments, including a complete
        Level III soils survey; carrying out widespread archaeological surveys that have
        documented important sites and rock writings; and implementing social science
        projects related to visitor experiences and impacts. New scientific discoveries are
        likely just around the corner; for example, scientists have collected thousands of
        specimens of invertebrates from the monument that await further study and are
        expected to yield new species that are endemic to the monument. 239

 As the GSENM Proclamation explains, “[s]cientists have utilized every corner of the monument

 in their efforts to better understand our environment, our history, our planet’s past, and our place

 in the universe.” 240 Given the extensive use of GSENM as an outdoor laboratory, protection of

 the landscape for that purpose is appropriate.

        Plaintiffs nonetheless focus on the size of the landscapes, suggesting that a sizeable

 landscape cannot be an object protected by the Antiquities Act. 241 To begin, nothing in the

 statutory text supports that assertion: On the contrary, the Antiquities Act provides that a President

 may designate a monument containing any object of significance, regardless of its size.

        Even assuming that a size of a monument bore on the legality of the President’s Antiquities

 Act designation, there is nothing remarkable about the size of the two monuments challenged here.

 National monuments “vary widely in size . . . . from less than 1 acre to about 283 million acres.”242

 At roughly 1.35 million and 1.87 million acres, respectively, BENM and GSENM fall comfortably

 within this range. They are only slightly larger than the 0.8-million-acre Grand Canyon National



 239
     GSENM Procl., 86 Fed. Reg. at 57,335–36.
 240
     Id.
 241
     E.g., Garfield Compl. ¶ 288 (comparing smaller national monuments).
 242
     Congressional Research Service, National Monuments and the Antiquities Act 4 (Nov. 28,
 2022).


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 Monument approved by the Supreme Court in Cameron. And even before President Biden’s

 proclamations, these monuments collectively reserved 1.11 million acres of land.

        Most importantly, Congress responded to the original GSENM boundary of approximately

 1.7 million acres by expanding the monument to include 180,000 additional acres. 243 Thus, even

 assuming size were a relevant factor, Congress has spoken to indicate that at least GSENM is

 appropriately sized at 1.87 million acres.

        D.      Plaintiffs have failed to demonstrate that the Proclamations protect
                “generic” objects.

        The Court should dismiss Plaintiffs’ claim that the challenged Proclamations designate

 allegedly “generic” objects of interest. 244 This claim fails at the outset: Neither Proclamation uses

 the term “generic,” and there is no basis in either Proclamation to conclude that the President

 sought to protect so-called “generic” objects. 245 The Garfield Complaint demonstrates that

 Plaintiffs are taking proclamation statements out of context to manufacture “generic” objects. For

 example, the Garfield Plaintiffs complain that the BENM Proclamation, in designating a “world-

 renowned canyon,” simply describes a “generic geological item[] . . . with no indication of [its]

 past significance.” 246 But the BENM Proclamation both particularly describes this allegedly

 “generic” canyon and explains its characteristics and significance:

        In the northern part of the Bears Ears landscape lies Indian Creek, the home of a
        world-renowned canyon characterized by sheer red cliffs and spires of exposed
        and eroded layers of Navajo, Kayenta, Wingate, and Cedar Mesa Sandstone,
        including the iconic North and South Six-Shooter Peaks. The canyon includes
        famous vertical cracks striating its sandstone walls and the area provides
        important habitat for a multitude of plant and animal species. 247



 243
     See supra p.3 & n.3.
 244
     E.g., Garfield Compl. ¶ 256.
 245
     See supra pp.4–8.
 246
     Garfield Compl. ¶¶ 256–57.
 247
     BENM Procl., 86 Fed. Reg. at 57,324.


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 Even had Plaintiffs successfully identified contextually “generic” items in the Proclamations—

 such as “ancient cliff dwellings; ceremonial sites; countless other artifacts; baskets; pottery;

 weapons; remains of single family dwellings” 248—those items would still be protectable under the

 Antiquities Act, as Congress explained: “Every cliff dwelling, every prehistoric tower, communal

 house shrine, and burial mound is an object which can contribute something to the advancement

 of knowledge and hence is worthy of preservation.” 249

        E.      The Proclamations do not designate “experiences” as “objects of historic or
                scientific interest.”

        Plaintiffs mischaracterize the Proclamations as designating “experiences” as “objects of

 historic or scientific interest.” 250 For example, the Garfield Plaintiffs incorrectly claim that the

 BENM Proclamation designates “world class outdoor recreation opportunities” as objects under

 the Antiquities Act. 251 To the contrary, the Proclamation explicitly states that “world class outdoor

 recreation opportunities” are “not objects of historic and scientific interest designated for

 protection.” 252 Because neither Proclamation designates “experiences” as monuments, the Court

 should dismiss this portion of Plaintiffs’ challenge.

                                           CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court dismiss Plaintiffs’

 Complaints pursuant to Federal Rule of Civil Procedure 12.




 248
     Garfield Compl. ¶ 263. Some of Plaintiffs’ recited phrases (e.g., “countless other artifacts”)
 appear in neither Proclamation.
 249
     H.R. REP. NO. 59-2224, at 2 (1906).
 250
     Garfield Compl. ¶¶ 253–55.
 251
     Garfield Compl. ¶ 254.
 252
     BENM Procl., 86 Fed. Reg. at 57,322.


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Dated: January 5, 2023                 Respectfully submitted,

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